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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO



DEBORAH GRAY, as Guardian ad litem    )
of R.B., a minor child,               )
                                      )
                        Plaintiff,    )
                                      )
            vs.                       )
                                      )             Civil Action No. __________________
ACADIA HEALTHCARE                     )
COMPANY, INC. and                     )
ROLLING HILLS HOSPITAL, LLC,          )
                                      )
                        Defendants.   )
______________________________________)


                              JOINT NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Defendants Acadia Healthcare Company

Inc., and Rolling Hills Hospital, LLC (“Defendants”) file this Joint Notice of Removal, and in

support thereof, Defendants would show the Court the following:

                                               I.

       Plaintiff Deborah Gray, as Guardian ad litem of R.B., a minor child (“Plaintiff”), filed a

civil action against Defendants in the First Judicial District Court of Rio Arriba County, New

Mexico on March 20, 2019. Defendant Acadia Healthcare Company Inc. was served with a

summons on April 2, 2019. Defendant Rolling Hills Hospital, LLC was served with summons

on April 4, 2019. Plaintiff’s complaint alleges personal injuries following R.B.’s admission for

residential treatment at Rolling Hills Hospital in Oklahoma in December of 2018 seeking

compensatory damages for medical and psychological bills, emotional pain and suffering,

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physical pain and suffering, loss of enjoyment of life, lost future earning capacity, economic

damages and punitive damages. The case was assigned Cause No. D-117-CV-2019-00134.

                                                II.

       Plaintiff, including Deborah Gray, as Guardian ad litem of R.B., a minor child, and R.B.

are individuals who are citizens of the State of New Mexico.

       Defendant Acadia Healthcare Company, Inc. is a Delaware corporation with its principal

place of business in Tennessee. Defendant Rolling Hills Hospital, LLC is an Oklahoma limited

liability company. The sole member of Rolling Hills Hospital, LLC is Acadia Healthcare

Company, Inc., a Delaware corporation with its principal place of business in Tennessee.

       Under 28 U.S.C. § 1332(c), Rolling Hills Hospital is a citizen of Tennessee, for purposes

of federal jurisdiction based on diversity of citizenship. See Harvey v. Grey Wolf Drilling Co.,

542 F.3d 1077, 1079-80 (5th Cir. 2008) (holding that citizenship of a limited liability company is

determined by the citizenship of all of its members); also see Belleville Catering Co. v.

Champaign Mkt. Place, LLC, 350 F.3d 691, 692 (7th Cir. 2003). Accordingly, there is complete

diversity of citizenship between Plaintiff and Defendants.

                                                III.

       In the Complaint, Plaintiff seeks compensatory damages against the Defendants for

alleged personal injuries following R.B.s admission for residential treatment at Rolling Hills

Hospital in Oklahoma in December of 2018. This Court has original subject matter jurisdiction

over this action under 28 U.S.C. § 1332 because complete diversity of citizenship exists and the

amount in controversy exceeds $75,000, excluding interest and costs. Diversity jurisdiction

existed both at the time the state court action was filed and at the time of this removal. This case

may be removed to this Court pursuant to 28 U.S.C. §§ 1441 and 1446.

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                                               IV.

       Plaintiff’s Complaint was filed on March 20, 2019. Defendant Acadia Healthcare

Company, Inc. was served with summons on April 2, 2019. Defendant Rolling Hills Hospital,

LLC was served with summons on April 4, 2019. This Joint Notice of Removal was filed within

30 days of receipt of a copy of the summons and Plaintiff’s Complaint and less than one year

after the state court action was commenced. Thus, this Joint Notice of Removal is timely and all

conditions and procedures for removal have been satisfied. See 28 U.S.C. § 1446(b). A filing

fee of $400.00 is tendered herewith.

                                               V.

       Defendants attach the following documents to its Notice of Removal:

       a.      True and correct copy of Plaintiff’s Complaint for Personal Injuries filed on
               March 20, 2019;

       b.      True and correct copy of executed summons for Defendant Acadia Healthcare
               Company, Inc.;

       c.      True and correct copy of executed summons for Defendant Rolling Hills Hospital,
               LLC.

                                               VI.

       Contemporaneously with the filing of this Notice of Removal, Defendants are filing a

Joint Notice of Filing of Notice of Removal with the clerk of the First Judicial District Court of

Rio Arriba County, New Mexico, and have given prompt notice of the filing of this Joint Notice

of Removal to all adverse parties, pursuant to 28 U.S.C. § 1446(d).




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                                              VII.

       Accordingly, Defendants Acadia Healthcare Company, Inc. and Rolling Hills Hospital,

LLC remove this action and request that this Court place this case on the docket of the United

States District Court for the District of New Mexico.

                                             Respectfully submitted,

                                             SERPE, JONES, ANDREWS,
                                             CALLENDER & BELL, PLLC


                                             By: /s/ Ryan L. Clement
                                                    Ryan L. Clement
                                                    Federal Bar No. 19-106
                                                    Melanie Frassanito
                                                    Federal Bar No. 99-261
                                                    rclement@serpejones.com
                                                    mfrassanito@serpejones.com
                                             America Tower
                                             2929 Allen Parkway, Suite 1600
                                             Houston, Texas 77019
                                             Telephone:    (713) 452-4400
                                             Facsimile:    (713) 452-4499

                                             ATTORNEY IN CHARGE FOR DEFENDANTS,
                                             ACADIA HEALTHCARE COMPANY, INC.
                                             and ROLLING HILLS HOSPITAL, LLC




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                               CERTIFICATE OF SERVICE

        On this the 2nd day of May, 2019, a true and correct copy of the above was forwarded to
all counsel of record.

FADDUOL, CLUFF, HARDY & CONAWAY, P.C.
Joshua Conaway
3301 San Mateo Boulevard NE
Albuquerque, NM 87107
505.243.6045
505.243.6642 (fax)
jconaway@fchclaw.com
Attorneys for Plaintiff

MARTINEZ, HART, THOMPSON
& SANCHEZ, P.C.
1801 Rio Grande Boulevard NE
Albuquerque, NM 87104
505.343.1776
505.343.7709 (fax)
mikeh@osolawfirm.com
kellys@osolawfirm.com
Attorneys for Plaintiff




                                                   /s/ Ryan L. Clement
                                                   Ryan L. Clement

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                                                                                                                       FILED
                                                                                            1   st JUDICIAL DISTRICT COURT
                                                                                                             Rio Aniba County
 STATE OF NEW MÐilCO                                                                                        3120120191:49 PM
 COUNTT OF RIO ARRIBA                                                                                 STEPHEN T. PACHECO
 FIRST ruDICIAL DISTRICT COURT                                                                        CLERK OFTHE COURT
                                                                                                              Tamara Snee
 DEBOR.AH GRAY, as Guardian ad litem of
 R.8., a minor child,

                     P¡âintiff,

 vs.                                                                                No.   D-1 17-CV-2019-O0134

                                                                                    Case assigned to V1/ilson, Matthew Justin
 ACADIA HEALTHCARE COMPANTY, INC.,
 ¡¡r¿ PQI I JNG HIr I S HOSPITAL, LLC,

                    Defendants.

                                  COMPTÁINT FOR PERSONAL INJURIES

            COMES NOW Plaintiff Deborah Grav. as Guardian ad litem of R.8., a minor child, by and

 through her attorneys, FADDUOL, CLUFF, HARDY                                 & CON,{![¡AY, P.C. $oshua K.         Conar.vay}

 and À{ARTINEZ, HÂRT, THOMPSON,                               &      SÂNCÍIF.;Z. P.C. (F. Michael Har¡        &   Kelly Stout

 Sanchez) anð for her Complaint for Personal Injuries against Defendants STÂTES:

                                  I. PARTIES, JURISDICTION, AND YENUE

       1-   R.B. is in the custody and care of the State                cf New Mexico.

       2.   PlaintifF Deborah Gray is ân attomey who rvas appointed Guardian ad litem of R.B and is a

            proper party ta bring this action on her behalf. Plaintiff is a resident of the County of

            Bemalillo, State of New lV[exico.

       3-   Defendant Rolling Hills Hospitã1,          IIC           f'Rolling Hills'), is a tbreþ limited liability company

            with a registered zgent, The Corporation Compan¡ 1833 South Morgan Road Oklahoma

            City, Oklahoma73|28.

       4.   Upon informatton znd belief, Defendant Acadía Healthcare Compan¡ Inc. f'-Acadia") is z

            Foreign registered corporation         with     a registered agent locatecl at       CT Corporadon System, 206

            S. Coronado Âvenue, Español4 New N{exico 87532-2792.

                Crry u. Acadia Healthtarv CatnpdrA, Int.,   et al.
            T   Complaint for Personal Injuries



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    5.    Upon inFormation and belief Rolling Hìlls is awholly-owned subsidiary of .tcadia.

    6- Upon inFormation and belieÇ Acadia operates a licensed Okl¿homa residenti¿l                  treatment

          cer¡ter, Rolling Hills, that purporß           to serle children with a ranç of mental,   emotional,

          addiction, and behavioral issues.

    7.    RollingHillshaspurposefullyavaileditselfofthebenefitsoftheNewñfexicomarketbyusing

          CYFD    øs   a referral source to send New Mexico adolescents to be housed at Rolling Hills.

    8.    Rolling Flills' conduct in connection with New Mexico is such that it should anticipate being

          haled into New Mexico court because it encourages reFerr¿l oFNew Mexico adolescents to its

          facility and houses New Mexico adolescents in its residential treatrnent center.

    9.    Rolling Hills maintains an interactive website where New Mexican residents can contact

          Rolling Hills and place New Mexico adolescents at Rolling Hills for residential treatrnent.

    10. Rolling Hills targets New Mexico adolescents by encouragrng CYFD to reÊer such youth to its

          fzcility for residential treatrnent

    11.   Plaintiffs claims a¡ise out of Rolling Hills' contacs v¡ith New Mexico and its purposeful

          availment of conducting business in New Mexico by providing residential treatrnent to Ne¡v

          Me¡<ico adolescents.

    12.   It is fair andreasonable to exeft personal iurisdiction over Rolling Hills.

    13. Jurisdiction and venue are         properwith this Court.

                          II.   GENER,A.L FÁ.CTS COMMON TO ALL CIÁ.IMS

    14. The allegations         of the preceding and succeeding parzgaphs     ¿re incorporated herein by this

          reference.




              Gtryv. Acadia Healthcarc Conpatg, Inc., er al.
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 Bacþround of Addiction and Mental Health in the United                          States

    15.   In 2008, the United          States Congress passed the Mental Health Parity and            ,{ddiction Equity

          ,\ct ('-A.ct'). The Âct required health plans and insureru to pay for ¿ddiction irnd mental            illness

          treatment just as the¡. r¡rs*14 for cancer or cardiovascular dise¿se.

    16.   Two (2) y*        later, Congress passed the Patient Protection and .Affordable Care ,{cr           f'ACÀ'),
          commonly reFerred to as " Olsamacare"                     .



    1   7. These tu.o (2)   larn-s   cre¿ted a shift of behavioral he¿lth funding from State budgets to insurance.

    18.   !üith   dre   ÂCA in place     -   ¡nd its requirement for coverage of mental health and drug abuse -

          the swelling numbers of ìnsured persons combined with the opioid epidemic sweeping the

          nation, kicked off a mentalheatth gold rush.

    19.   Mental health investrnents quintupled, with Americans' addiction                           to d*gs    spelling

          opportr-rniry For private equity firms.

 General Inforrration Ab<¡ut Defendant Acadia Flealthcare Companp Inc.

    20. Defend:x* Acaðia Healthcare Company, Inc., was estat¡lished in 2t05 to develop and operate

          a network of behavioral health fãcilities across the country.                   It   provides psychiatric and

          chemical dependency services.

    21. Actdia, operates a network of 586 behavioral health facilities with approximately 18,000 beds

          in 40 states, the United Kingdom, and Puerto Rico.

    22. In2t72,.&c*dia,s revenue wzs $413 million. That number swelled to $1.038 billion in 2014. In

          2018, Acadia has reported revenue                of ff2.268 billion through Seprember.

 Background of Joey Jacobs

    23.   At all times relevant here, DefendantJoeyJacobs was the Chairman and CEO of Acadia and

          oversav/ the growth          of Acadia following dre enacünent of tl're Afforclable Care Âct          Jacobs

          had been the head of Acadia since 2011.

               Crry u. Acadia Healrhcan CnhtpdttJ, Inc.,   et al.
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      24.   In   l997,Jacobs co-founded Psychiatric Solutions, Inc. f-PSI") and served as its President

            ancl   CEO From 1997 until 2û10. BeFore Founding PSI, he serr¡ed For 2l years in r"¿rious

            capacities with Hospitrl Corporation of ¡\meric¿                   f'HCA').
      25. Jacobs initiated a plan whereby PSI                    would ñll up âs måny beds as possible rvith ¿s little staff

            as possible, causing           profits to soar.l

      26. Former PSI employees have char¿ctenzed the culture as: " 'ft's a pattem of behavior driven

            totally by the almigþty clollar,' saicl Chacl Thompson (who v,-orked at an admissions office at

            Sierra Yista w-hen PSI took over) . . . 'It's not a client-centered approach. It's a money-centered

            zppronch."'2

      27. In September af 20t9, shareholders of PSI filed a derivative larvsuit against PSI for Failing to

            disclose adverse facts about the company and for false promises reg3rcling the success of the

            company, which artiticially inflated the supposed values                        of the company shares. The
            shareholders also alleged that PSI had '"sufFered from systemic quality                     of   care and patient

            safety problems" for years.3

      28. "The complaint allege[d] th¿t PSI fai]ed to sufficiently staff its facilities, resulting in alarming

            incidents of abuse, neglecg and even the de¿th of its patients, and downplayed the signiFrcance

            of these events when they became public."a

      29. Jacobs shcwed up several times within the lawsuit, always with empty promises:




   -f¿e Christina Jewett & Robin Fields, "Psychiatric Care's Peril and Profits" (dated Novembet 22,2ffi8), auailable at
 1

 https:/lwww.propublica.oqg/artide/psychiatric-cares-perits-and-pro6ts-psychiatric-solutions-inc
 2-Ç¿s ChristinaJewett & Robin Fields, "Psychiatric Care's Peril and Profits" (dated November22,201)8),
                                                                                                                      auailable at
 https://wwrv.propublica.or,g/article/psychiatric-cares-perits-and-profits-psychiatric-solutions-inc.
 3 Complaint for Violation of Federal Securities Laws, Garden
                                                                   CiE Eøplryees'R¿Íinment Sjs. a. Pgcbiatric Solutiotts, Iw., jog
 Jacobs, et al.,in U¡ited States District Court Middle District of Tenn., Nashville Division (dated September2l,?-009).
 a "Shareholders Obtain $65 Million Settlement in Psychiatric Solutions" (dated
                                                                                              January 77, 2t115), auailaþle at:
                                                                   solutions.htrnl.
                   Crg   a.   Acadia Healtlttaru Coøþary, Inc., et al.
          4        fümplaint for Personal Inluries
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                     .    ou.
                                . . we consantly are improrring the saFety, looking ât ways to imprrr.e the saFeç

                          quality, meeting standards and regulr.dons."

                     o   ".     . . compliance for us stafts at the single emplovee taking care of that single paúent.

                         Ånd it's the responsibiliq. ot the CEO at that facitity to make surc they arc in

                         compliance and grert quality there."

                     . "...       ifrve intemally classifritas agraveinciclerìt        ...   we im¡nediatelybegina root-

                         cause analysis to see iF there is a way we can improve the Facility and improl'e the

                         processthere... ."

                     o   "Minimizingatd eliminating these rype of incidenm is one oFPSI's top priorities. We

                         take continuous improvement of qualiq', safety and risk management very seriously

                         and rve have built ¿ very efTective inkastructure over the past several years."s

        30. Jacobs seemingly ignorecl these issues ancl woulcl refer to inciclents at PSI facilities as

             "creatfing] noise lor us."6

        31. Jacobs rv:ìs responsible f<¡r shaping this corporate culture of putting profits fìrst ¿nd under

             l'ris   controlPSlrvent fr<smzrevenue of $l14million in2AA2to $1.8 billìon in2A09.

        32. PSI's lack oF quality care and poor corporate culture w¿s clocumented in a report preparecl

             by the University of Illinois at Chicago's for the DCFS:

                         There is compelling data about the tendency of this organ:nattan's leadershigp
                         to avoid taking direct responsibility for longstanding and reoccurring
                         clinical/adrninistrative failures - in effect, placing the onus for the chronic
                         quality of czre problems clownrvard: first onto the hospital staif 'who do not
                         perform their duties'; [and] second, onto mental\'ill patienæ who 'refuse to
                         comply rvith ¡he rules,' . . .


 s   Complaint for Violations of F'ecleral Securities I-as's, at 17-18, Garden CiE Enplqæi Rerircmet S1s. V. Pytliatrìc Solations,
                        rn United St¿tes District Court tutiddle District of Tenn.. Nashville Division (dated September 21,
 Lrc., Jory .lacobs, et al.,
 200e).
 6
     C,omplaint for \¡ìolations of Fecleral Securities Lan's, at 17-78, Garden Ciry Empþtees' Retiremmt Sjs.l/. Pgthiatric Solutions,
                   eT al.,in l)nited States Dist¡ict (krurt Mddle District of Tenn., Nashville Dil,-ision (tlated September 21,
 lne., Joe¡ Jatolts,




            5-
                          u.   Audia   Healtj¡carc Conparyt, Inc., er a/.
                     fümplaint for Personal lnjuries
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                        Such resistance to critical self-examination, ancl the organizational tendency to
                        'blame downrvard' andler. 'outward'when quality of care problems arise, is by
                        no means limited to Riveredge ofticials. lr tacÇ the earlier brief rer.iew o[
                        similar problems in PSI facilities around the L:nited States shorvs â corpor¿te
                        culture operating from one crisis to the next - always primed to immediately
                        spring into action to fix problems that were othenvise               þored until yet another
                        crisis eventually forces attention to be paid.t

      33. Jacobs left PSI in November 2010.


 Jacobs Takes Over at Acadia

      34.   In February of 2t11,            Jacobs     took over ¿t Åcadia as the Chairman of the Acadia bo¿rd and

            CEO- FIe served in this capacity until December 17,2018, when he was removed.

     35. Al¡ but one oi his current corporate officers of ,{cadia is a previous owner and/or officer                   of

            PSI, therefore, ensuring that the culture initiated byJacobs at PSI continues on at Acadia.8

     36. WhenJacobs took over Acadia                      in2t1l,      Acadia had about six (6) f¿cilities.

     37.    ìfith   private equity money flooding mental health and addiction services, Jacobs czpitahzed

            on the steady stream of income ar.ailable.

     38. Aczdia now has close to 600 facilities worldwide.n

 Acadia Acquires f,slling Hills

     39. ,A.cadia operates             a treâtrnerit Fzcility for children with a wide range of intellectual and

            developmental disabilities            as   rvell as behavioral issues called Rolling Hills.




 ?
   CCHR Internat'l, "Psychiatric Chain Under Investigation for Billing Fraucl &,{buse in U.S. Now Buys U.S. Behavioral
 Facilities",   at 5 (dated Jaluarv 16, ?fJI7), at;ail¿ble at http:f /www.cchrvictoria.org.au/psychiatrict-chain-uncler-
 inves tigation- for-billing-ft aud-abus es.
 I CCHR Intemat'l, "Psychiatric Chain tlnder Investigation for Billing Fr¿ud & Âbuse in U.S. Nou' Buys U.S. Behat ioral
 Facilities", at 5 (dated January 16, 2Ð77), nailabk m http:/ /www.cchrvictoda.org.au/psychiatrict-ch¿in-under-
 irvestigation-for-billing-fraud-abuses.
 e Margaret Newkirk, '?rivate Equity
                                         Sees No End to the Drug and Mental-Heâlth Gold Rush (dated March 3Q 201-f,
 Bloombeqg awikl¡lz ar htçs://wwrv.bloomberg.com,/news/artides/2Ùfi-A340/pnivate-equity-¡ehab-¡omance-r¿ges-
 amid-healthl¿rv-turmoil.
                 Crry   u.   Acadia Healthcare Conþary¡ Int., et al.
            6å fümplaint for Personal Injuries
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    40. Rolling Hills claims its mission is to "provide superior behar'ìoral he¿lthcare services" with

        "Core !'alues" of "Integrity            -   honesty and Fairness", "Respect   -   Úr:tt people as rve r¡'ish to be

        treated", and "Excellence           -   providing the lel'el of care we would want for a Family member".

    41. Rolling Hills          "is proud to offer       adolescent behavioral health services that are      desþed to

        sabilize young people who are battling emotional and behavioral concems." It claims th¿t its

        therapies and "treaünent modalities" "allo$¡ young people to leave frtsl hospial and become

        functioning successful members of the community."

    42. Rolling Hills claims         is   therapies are     "desþed to meet the needs oFyouth         between the ages

        of   12 and 18 who are suffering from mental, behavioral , artd/ or emotional concerns."

    43.lt    contends its program "specializes in the diagnosis and treatrnent of psychiatric conditions

        by providing a comprehensive range of services as part of [its] short-term sbbilization

        treatment model".

    44. RollingHills holds itselFoutas possessing t"caringand compassionate sbfF'.

    45. Rolling Hills promises            "þly      impleme*ting inriivici-r¿lizecl service plans ihatzre urilareel to

        ¿¡f,jress the unique conceiïs oie¿ch Fratient w-hc is errgusted in cur cate, the strtTai Rsllìng

        Ilills   l-Iosp*it¿l   in Åda, CIK is ¿ble to help adolescents sfa.bili?e arid devel{rp the t;ols needed

        to   maint¿i¡r the highest level c;f fi-¡nctioning, atl while rernair:rrrg              in ¿ s¿fe and     he-aling

        environment that is c.onducive tcl              he-¿linÉi-"


    46. Upon information and belief, ,{.cadia acquired Rolling Hills in 2012.

    47. Upon information and belief, Acadia controls the budget of Rolling Hills, seæ benchmarks

        for profitability, and profiøbility determines the bonus the CEO will receive ezchyear.

    48. Âdditionall¡ upon information and belief, CEOs and other management of Acadia facilities,

        such as Rolling Hills, are employees of Acadia, not Rolling Hills.



              Grq   a.   Acadia           CorlpdßJ, Inc., et al.
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    49. Upon information and belief, when incidents occur at Rolling Hills, staff are required to call

        Risk ivlanagement ât Âcadia to repoft such incidents. Àcadia cletermines what level oFseverity

        is   assþed       such incidents, which controls whether these incidents       tnger   mandatory reporting

        requirements to insti¡¡tions such as the Sate of Oklahoma or theJoint Commission.

    50. Rolling Hills management is trained ¿t Âcadia by.A.cadia personnel and Acadia's liability

        insurers in topics such as incident investigation and client mânagement

    51. Acadia controls every aspect of Rolling Hills operations.

 Acadia PurposefuIly Avails Itself of the Benefiæ of Conducting Business in New Mexico,
 Including Filling Beds at Rolling Hills

    52. Upon intbrmation and belie{ Rolling Hills obtarns referr¿ls from CYFD to place New

        Mexico adolescents, including R.8., into Rolling Hills for residenti¿l treatrnent

    53. ,{s a result of the referral systerry New Mexico 1.outh are sent to Acaclia Facilities, including

        Rclling Flills, For residential treatmenq by agencies, including CYFD-

    54. Åcadia, and its facilities, including Rolling Hills, puqposefully avail themselves of the beneflt

        of conducting business in New Mexico by purporting to serve Nerv Mexico adolescents and

        provide them with residential treatrnent.

    55. CYFD, as custodian, and acting ia             lom   parentis to New Mexico adolescents, including R.8.,

        place them into Acadia-run facilities, including Rolling Hills.

    56. As a result of CYþÐ's referrals, Acadia is able to fiIl its facilities, including Rolling Hills,      with

        New Mexico youth.

 Rolfing Hills is the Alter Ego of Acadia

    57. The corporate compliance statement for Rolling Hills, on its website, lists an Acadia

        compliance officer as ie compliance contact.

    58. Upon information and belief,


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            a^    Acadia owns all, or the majority, of the capital stock in Rolling       X'IilLs;


            b.    .{cadia and Rolling    Ilills corporadons    h¿ve coff}rnon directors or oFficers;

            c-    Åcadia finances Roiling Flills and its      budçt
            d.    Acadia subscribes to all the capiul stock of Rolling Hills andfor otherwise caused its

                  incorporation;

            e.    Rolling Hills has grossly inadequate czpiøl;

            F. Àcadia pays the salaries and expenses and losses of Rolling Hills, including            issuing pay

                  checks to all Rolling Hills employees.

            g.    In the papers of .A.cadi4 and its statement      oF Acadia officers,   Rolling Flills is referred

                  to as tsubsidiary, departmenq or division of ,{cadia.

            h.    The directors and executives of Roläng Hills do not act independendy in the interest

                  of Roiling Hills but instead, not only take directìon from.{cadi4 bu! are, in the case

                  of Rolling Hills' CEO and COO, arc zcítai Acadia employees;

            i.    The formal legal requirements of Rolling Hills as                  separaLte   and independent
                                                                                 ^
                  corporation are not observed;

            i.    All of Roiling Flills' revenue      goes to Acadia;

            k.    ,{ll   capital expendihrres are approved by Acadia;

            l.    Acadia negotiates employment contracß between Rolling Ïülls and hired employees.

    59. Upon inFormation and belief, the CEO and COO of Rolling Hills are ,{cadia employees.

    60. Upon informæion and belief, the paychecks of all employees atRollingHills are paid by

        Acadta.

 General Bacþround of R.B.'s Incidents

    61. The allegations of the preceding ancl succeeding paragraphs are incoqporated herein by this

       reference.

            CrE   a.   Acadia        LonzpøtJ, Iac,, et aI.
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    62.In December of 2018, RB.                was placed in the custody of CYFD andwas award of CYFD.

    63- In approximatelv December oF 2018, RB. was placed in residential treatrnent at Rolling

        Hills.

    ó4. While a resident at Rolling Hills, a staff member: Jason                  II., took   ad*=antaç oF his position   of
        powerand authority over R.B. and raped her.

    65. Upon inquiry by the Rolling Hills Program Director, RB. disclosed the rape and sexual

        abuse byJason H.

    66. Ås a result of the incidents occurring at Rolling Hills, R-8. susmined serious physical and

        mental iniuries.

                                                        III. COUNT          I
                                                .Alter E go/Instrumentality
                                                      (Â,ll Ddendants)

    67. The allegations oF the preceding and succeeding paragraphs are incorporated herein by this

        reference.

    68. Rolling Hills is the alter ego of Acadia.

    69. The shareholders of Acadia har.e so manipulated Rolling Hills, and other Acadia subsidiaries,

        to   serve their own individual interests that the identity                 of Âcadia has merged with that of

        Rolling Hills, and other Âcadiz fzcilittes.

    7û. Rolling     llills, and other Acadia facilities,         a;te   r'at operatecl in a legitimate fashion to serve the

        valid goals and purposes oF Rolling Hills but, instead, function under the clominion, control

        ol   and for the purposes of Acadia.

    71. Rolling Hills, and other Acadia facilities, are mere business conduits for Acadia.

    72. There is such unity of interest and ownership that the individuality and/or separateness                          of
        Âcadia and Rolling Hills, as well as other Âcaclia facilities, has ceased.



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    73. Âllov"ing acknowledgement of the separate corporate existence oËÀcadia from lìolling I'{ills,

        and its other "{,cadia Facilities, would sancdon fraud and/or other improper purposes.

    74. ln fãct, the corpor¿te compliance statement for Rolling l{itls lists an ,{.c¿dia compliance officer

        as its compliance                 conÞct:




                                   l:ltij.S                                                                                        4d, i$?3ìù{.$?t35        gS I $.




                                                               a\   *+*,;¡r-t_\p:teÉs::g¡s.:+sk¡rúÂ      ¡-\t4êr+t:-r_r-\.   .,¡.p.:\(: h:a-:.i$Àr *vrã4,,à¡. ¡tj \\*(¡,r-..


               f-ñi${ç¡}l+-.-*ifvrs\*\.s\.*dr:¡\4o.-,.H.\ù;.!r,t\.À.\e..*:,-$\Á.?i*8¡ùùñsìvùN.--i.'¡.:-'ñ$r:{-?r*stÁ.ßìrirs:rrÞsqe-.r:rì¡:d*[Li\r:l.r



               ir-4:âr\qju {dt:r'
               Àf.>¡   I'er ¿Ír¡\_sù l*

               r'4:ãwi         ?*b




    75. The clerermination that sh¿reholilers are the 'alter egos oi the corporation describes the

        speciiìc situadon here w'here the -A.c¿dia -*h;rrehr:lders har¡e so manipulated tìolling I-Iills to

        further their ow'ri indir.idu¿l interesls that tl're iclentity of Rolling lfills has mersecl into its

        Aczdra sh¿rehcrlderc. 'That is                         to sa¡ that Acadia and Rclling lTills have, in fact, Lrecome                                                    so

        closely iilentiiìed thata court in ruling that the corporate entit¡ shouicl be disregarclec{ is merely

        recc'grrizi ng reality-.

    76. The Acadia shareholders have manipulated Rolling Hills to their own purposes, convenience,

        and benefit.




                 u. Acadia HeahlJcan ConparyL Inc., et al.
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    77. Acadia's control exercised over Rolling                   ltills is so complete   as to render Rolling   l{ilis   the

        instrumentality       oF   Âcadia

    78. Upon information and belief,

           L      Acadia owns all, or the maiority, of the capital stock in Rc,lling Hills;

            b.    ,\cadia and Rolling Hills corporations have corrunon directors or of[icers;

           c.     ¡\caclia finances Rolling Hìlls and its budge6

           d.     ¡\cadia subscribes to all the capital stock of Rolling Hills andf or otherwise c¿usecl its

                  incorporation;

           e.     Rcdhng Hills has grossly inadequate               capiøl;

            f.    Acadta pays the salaries and expenses and losses of Rolling                l{ills, including issuing pay

                  checks to all Rolling Hills employees.

           g.     In the papers of ,{.cadia, and its statement of Acadia officerso Rolling Hills is reFerred

                  to âs a subsidiary, departmeng or division of Acadia-

           h.     The directors and execudves of Rolling Hills do not act independentiy in the interest

                  of Roiling Hills but instead, not only take direction from.{cadi4 bu! are, in the case

                  of Rolling l-Iills' CEO and COO, are ¿ctual,{.cadia employees;

           i.     The formal legal requirements of Rolling l{ills as a separate and independent

                  corporadon are not obserred;

           i.     AII of Rolling l-Iills' rer.enue goes to Acadia;

           k. ,tll capital expenditures af,e ¿pproved by *&cadia;
           l.     Acadia negotiates employment contracts betq¡een Rolling Hills and hired employees.

    79. Acaðtz has complete dominion over Rolling Hills, not only of finances, but also of policy and

       business practices so as           to make it clear that Ralling Hills has not            sepâr¿te mind,    will, or

       existence of its own.

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    80. Rollingl.Iills was operatedwith an improper pulpose, including direction and participation by

          ¡\cadia in improper activities and ioint improper acts where, had Âcadia and Rolling Ï-Iills

          performed these actions alone, would have created liability- ,{.cadia used Roliing }{ilis to carry

          out uniust acts.

    81.
          '{,s
                 a direct and proximate            or legal result oF,{.cadia using Rolling Hills has its alter ego, R.B.

          has been injured and has suFfered physical and mental infuries.

                                                             IV. COUNT II
                                                               Civil RICO

    82. The allegations              of tlre preceding ¿nd succeeding             paragraphs are incorporated herein by this

          reference.

    83. Under the Neq¡ Mexico Racketeering Acq "[a] person who sust¿ins injury to his person,

          business or Fropertr by a pattem of racketeering actiyiLy may file an action in the disffict court

          For    the recûvery         oÉ dr¡:ee times the ¿ch¡al r{arnages        proved ancl the costs of the suiq including

          reasonable attorney s lèes." N.À{.S.Å. 1978, $ 3ü-,1.2-ó{.{).

    84. Defendants har.e committed predicaæ                        acns   lbr racketeering:

                        A. "racketeerind' meâns ãîy aict that is chargeable or indictable under the laws
                        of New Mexico and punishable by imprisonment for more than one year,
                        involving arry of the follovdng cited offenses:

                                                                           ***

                        (6) fraud, as provided in Section 3t-16-6 NMSA 1978;

                                                                           x*i¿


                        (2A) aviolaaon of the provisions of Section 30-51-4 NMS-A 1978;

          N.M.S.A.. 1978, $ 30-42-3.

    85.   " 'fP]attern of racketeering activity'                means engaging in at least ¡¡¡o incidents of racketeering

          with the intent of accomplishing any of the prohibited activities set forth in Subsections Â

                 Crry   a.   Acadia Healthcarc Conþary, Inc., er al.
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          through D of Section 30-{2-t NMSÂ 1978; pr<rvided at least one oF dre incidenm occurred

          after February 28,1980 and the last incident occurred within Éive yean afær the commission

          of a prior incident of r¿cketeering." È{.1\{.S.4. 1978,                $ 30-42-3(D).

    86. Racketeering is involvement in an enteqprise with illegal or illicit activity.                     J¿¿   N.N{.S.,\. 1978,   $


          3042-3 (C)(defining "enterprise"               as "ír sc,le   proprietorship, partnership, co¡poration, bu-siness,

          l¿b.¡r union, associadon or ofher legal entity or a group                          oi   individuals associ¿ted    in   fact

          altirough not a legal entitv ancl includes illicit as rvell as licit entities-'); N..\{.S.,{. 1978, $ 30-

          42-4.

    87.   ,\n   enterpxise may exist solely              ibr the purpose        .:t-   engdng in the two cìr mr¡re          crimes

          constinrting the pattern of racketeerin¡ç [activiry]. . . . And dre er,-idence used to prove the

          o<istence         of an enterprise     m¿v o'rerlap       ç¡ith evidence of a pãttem of racketeering activity."

          Søte a. Rarl, 1999-Nh,ICA-068,lJ 1û,127 N-hf. 3"17, 9Bl P.zd 280 (citation and quotati,rn marks

          omittec|.

    88.   A person iniured by civil racketeering activity may recover "three times the actual clamages

          praved ¿nd the cosas of the suig including reasonabie atÈomey's tèes." N.M.S.A. 1978, $ 30-

          42-6(L).

    89. Acadia, is ¿ criminal enterprise. Through ,{.cadia's other entelprises, such as Rolling Hills,

     ,    Acaðra has engaged in civil racketeering acttvity.

    90. Upon information and belieÇ Rolling Hills deposits all, or nearly all, income eamed on a daily

          basis to ,tcadia and Acadia controls and directs all actions of Rolling Hills, to include staffing

          levels, resident levels, levels incidents are classified                     aed financial decisions.
                                                                                ^t-
    91. Specificall¡ upon information and belief, Aczdia has committed fraud by making promises to

          ensure the safety           of adolescent      residents      of Rolling Hills while intentionally         understaffìng



                Ctry        Acadia Healthr*n Co@aø), Inc,, et al.
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        Facilities and choosing           not to provide adequate    lernels   of st¿fl thereby endangering the sateq'

       of adolescent residents such                as R-B--


    92. Defsrd'"r¡rts have committed fu¿ud and misused funds by misusing residents' insurance

       proceerls and cor.erage, have billed fbr sen'ices not receir.ed, including paying for sr¿ff *'ho

       allorved residents to be beaten, abused, sexually assaulted, and elope from iacilìties.

    93. Defendârits committed Frrud and misused Funds by misusing rcsidents' insurance procceds

       and cor.erage by charging for serrices, such as assessments for placement done by staff

       unfamiliar w.ith the DSL'[ fV manual and Failing to trke into account resiclents' histories and

       physicals.

    94. Defendants har.e committed fraucl ¿nd misused funds bv repeatedly hired unqualified persons

       with criminal histories and employment histories that shoulcl have disqualified them from

       working ìn ;\cadia facilities.

    95. Delendants have committed fraud and misused funds b;' repeateclly failed to report incidents

        antlf   or downgraded the incident level of incidents that have occurred in facilities to                 ar.oid

       reporting incidents to authorities, go\¡emmental agencies, and residents' own parents and

       guardians, to hide the incidents occurring in Facilities and to avoid losing residents and their

       insurance proceeds.

    96. Defendants have committed fraud ancl misused tuncls by billing for services ne\.er provided,

       failing to keep resiclents sate, and subiecting residents to violence and sexual attack.

    97. Upon iurther inFormation and beliet -A.cadia has committed fraud                           by fàlsely zr:'dlor
       fraudulently adverdsing the safeg' of adolescent resiclents and Rolling Hills holding itself out

       as a residential ffeatment program despite providing inadequate levels                     of staffing   and not

       pror.icling       for the safety of            adolescent resiclents. Acadia and Jacobs have made these

       representations despite having knowledge oF the multiple invesdgations, incidents of death,
            Crry   u.   Acadia Healtl¡carc C:nnþat!), Inc., et a/.
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       sexuâl assault, phvsical assaulg and complaints of understatfing nationwide at,tcadia tacilities.

       Upon inFormation and belief, numerous patients and residents, including children and

       teenagers, have died due to -A"cadia's negligence. There are numerous, recurring reports                      oi
       sexual and physical abuse at ê.cadia facilities, some oF w-hich is carried on by employees ot

       Acadia or Acadia-owned Facilities:

           o In 2007, in Arkansas, a five-year old boy rvas killed at '{.scent Children's Health
               Sen ices rvhen Ascent employees left him in a hot van                 for 8 hours. ,{scent is owned

               by Acadia. Ascent was ult"udy on probation due to another boy leit unsupervised for

               hours and was found bloodied and bruised. The State of Arkansas later launched an

               investigation into incidenß of alleged mistreatrnent of children.

           o In Oklahoma,          federal inspectors documented 64 separate violations at Rolling Hills

               Hospital since Âcadia acquired itin 2A12. Among the findings, inspectors determined

                that 26 cleaths went unreported. Other complaints included assaults and rzpes, and

               accusations thatr{.cadia ordered its employees to remove security cameras and destroy

               video surseillance.

           o    In 2A16, z lawsuit was filed agzinst Valley Behavioral Health Systems and                 ,{.cadia   for

               the violent rape of ¿ resident by another resident Valley Behavioral Health allegectly

               placed    z   mzle patient     with severe mental health issues in the           s¿me hall as female

               residents. The male patient grabbed                 a female patieng pulled her into a room, and

               violently rapecl her.

           o    In New Mexico, Acaclia-owned Desert Hills                   Residential Treatrnent Center has been

                the sublect of numerous complaints               .In   2A16, a young resident was allowed   to escape

                from Desert Hills during a trip to              a hospital because Desert   Hills did not provide the


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                required number oFemployees to transport him. The y6s¡g rrran was on the run for 3

                days beFore being shot by a homeowner. Desert Hills has previous been the subject oF

                numerous calls out to            it   by Altruquerque Police Degartrnent           ('APD') for residents

                being on the rooF of dre facility. Â sexually predacious resident rvas housed with a

                younger, more vulnerable resident and sexual abuse occurred. Ànother incident

                occurred where a young residentwas raped by z male staff member ancl DesertFfills'

                respanse was to cover up the rape and merely send the staff member home for one

                (1) day and did not notiFy the mother                of the young resident until a visit with the mother

                a few da,vs later- Desert Hills has trro (2) ,\cadia employees                    -   the CEO and COO.

                Âcadia seß the budget For Desert Hills and that budget go\¡ems hor¡¡ much st¿ff can

                be at the facility at any given time.          ln   2014, the
                                                                                '\PD   began to prepare to declare Desert

                Hills a public nuisance because of the number of calls to the facility. Rather than fr:i

                these issues, Deserl Hills met            with CYFD and received            a   waiver so APD no longer

                had to be called for incidents at Desert Hills.

          o     In Pennsylvania, the Philadelphia Police Deparrnent has respondecl at least 600 times

                between       20ll *nd 2tl6       to incidenæ at Ac¿dia-owned Bellmont Behavioral Hospital.

                In Florid4       '{.cadia-ov,-ned
                                                       Park Royal Hospital has had similar complaints.          ln     20L8,

                authorities were investigating            tro    (2) patient deaths and a sexual assault       ,t   former

                employee was convicted of raping                1l   patients several years ago, rapes that the hospital

                could have prevented had it not                þored    waming    sþs. A 2017      inspection determined

                that Park Royal is understaffed and cannot properly supervise patients, ignored

                complaints, and had poor quality control procedures in place. In20'l,4,inspectors cited

                Park Royal's failure to perform l5-minute checks required to keep patients                     saFe.   That

                failure lead to death and rapes.
          Crq   u.   Acadia Healthcan ConþdilJ, Inc., et al.
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          o    [n Phoenìx, ,{,rizon4 inspectors declared an immediate jeopardy sin¡ation at Acadia-

              owned Sonora Behavioral Health Hospital.               It   Found that the hospial had inadequaæ

              staffing'and nursing practices and environmental issues all ofwhich contributed to the

              death of- a patient by suicide. This is            in addition to the deaths   oF multiple ¡¡oung

              padents, after which inspectors deærmined that one ,tcadia staff person working in

              the unit during these cleaths was not qualified. Other investigations uncovered an

              assault on a vulnerable person that was              not reported to the police or the parents,

              additional unqualified staff members, nurses drunk on the job, medication errors,

              improper use of physical restr¿ints on patients, lack of patient supervision.

          o   In Tucson, Anzona, '{cadia-owned Sierra Tucson has had several incidents               as a   result

              of violations of policies and procedures. For example, policies and procedures require

              stafF   to go to a resident's living quarters if the resident is more than lS-minutes late

              For a class.   On several occâsions, residents rvere latg and no one checked on them.

              Two (2) residents were later found dead as a result of suicide. Sierra Tucson             h'¿s had


              repeat and ongoing defìciencies             with the sen'ices it provides in its acute psychiatric

              unit. Five (5) men, all of whom were padents at Sierra Tucson, have died since 2011.

              Three of them died from suicide, one died of drug toxicity, and the last man's body

              rvas discor.ered trvo (2) weeks after he had disappeared; the autopsy \¡¡as inconclusive.

          o   In Texas, federal inspectors found dozen of incidenæ of violence, patient assaults,

              sexual misconduct, and numerous escapes                 at Acadia-orvned Cedar Crest. Staffing

              levels were determined            to be below standard. Staff members            reported unsafe

              conditions and claimed that they have begged for help, because there is never enough

              staff even though the CEO of the hospital knows of these issues. This facility has also



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                been subiect      of   a whìstleblower lawsuit accusing         it   oF billing rVedicare, Tricare, and

                private institrtions For phantom services and Falsi$ing patient records fior Sute audits.

           a    A,n investigation at ¡{cadia Montana in 2016 found               dratwithin a 13-¡**eek period there

               rvere 128 patient assaults. Included in these incidents were stafF handling patienm

               aggressivel¡ leaving them unsupervised, andwarching pornography in front oFthern-

               The inspection noted that "staff reported the facility is understaFfed."

           o    In Fayetteville, ,{rkansas, there are allegations that patients at Piney Ridge have been

                forced to fight with e¿ch other by members of the stafF.

           o    In   2A16, at Valley Behavioral,         a   Female patient   was violentþ raped by another male

               padent, both minors. The facility allov¡ed male and female patients to be housed in the

               same hall and allowed many            cf the patients to go unsuperrised. In addition, the faciliq

               was underetaffed and therefore not ¿ble                 to provide sufficient supervision of        the

               patienæ.

           a   A lawsuitwas filed rrl.2017 againstlongleaf Hospital, an ,{cadia owned facility,loc¿ted

               in Louisiana. The complaint alleges that the plaintiffs son w¿s assaulted by saff

               members and when she tried to remove her son zfter the assaulg Longleaf Hospital

               would not release him. In addition, Iongleaf Hospital attempted to obstruct and

               prevent law enforcement officers from investþting the assault

           o    In   2A76,   in   Pennsylvania,      a   patl'ent ¿t Belmont Behavioral Health Hospiøl was

               assaulted and sustained serious, and permanen! iniuries.                   A lawsuit was filed alleging

                that the facility was understaffed, which resulted in patients being left unmonitored.

           o    Inspection reports frolø:. 2t75 zrÃ 2016 indicate a number of deficiencies at Acadia's

               Dela Medical Center in Tennessee. The deficiencies include fzllingto give basic                     care


           GrE a. Acadia Healthcan Cnûlþarry, Inr., er al.
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              such as baths and wound treatrnent to senior citizens and tailing to hke proper

              precaudons to pre\¡ent elderly patients from Falling.In 20L7 in Arkansas, a five-¡'g¿¡

              old boy rr,.as killed ¿t i\scent Children's He¿lth Services when,{.scent employees left

              him in a hot v¿n For 8 hours. Ascent is ov'ned by Acadia. Á.scent.*zs akeady on

              probation due to another boywas leFt unsupervised for hours and was found bloodied

              and bn¡ised. The State oF Arkansas later launchecl an investigation into incidents                     of
              alleged mistreatment of children.

          a   In    2A17,    in I¿s \regas, Ner.ada, an eldedy man admitted to Seven Hills was severely

              beafen up by several people w-ho                    hit him in his ears and face, resulting in multiple

              bruises, alarge knot behind his                   left ear,and his ear badly bruised, turning purple and

              black, and a large bruise on his left arm. In March                      af    2A77, the elderþ man was

              seriously beaten by a staff member of Seven Hills shoved him against awall and pinned

              him there.       L*er     that day, the elcledy rnan wâs transported to a hospial and found to

              have suffere d abrarn bleed.

          a   In .April 2A17,         trr Las \rega.s, Nevad4 a young man            with a history of self-harm    was

              released       from Harmony Health Care, despite kno¡¡¡n active psychosis, and self-

              âmputated his right hand and stzbbed himself in the                   rþht   eye in the attempt to remove

              his eyeball due to his beliefs that he was possessed by demons and his actions would

              cast the demons out.

          a   ln     2017,   in   ,{.cla, Oklahoma, a husband filed a lav¡suit             on behalf of his wife against

              .Lcaðia owned Rolling Hills Hospitzl far the failure of the hospital to protect her from

              the violence of another mentally ill patient. W'Ìrile waiting for medication, the plaintiffs

              wife was violently attacked from behind by a mentally ill patient who had not been

                                from the other                      The       tiffs wife   was grabbed     her hair and
               a.   Aødia   Llealthcarv Conpatg, Inc., et al.
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                 agressively slammed into the concrete floor; she now sufFers from permanent brain

                 damage. There was no supervision                    or securiry present   because oF the understaËfing

                 problem. Another law'suit,-¿lso in 2017, involving a minoq alleges that Rolling Hills

                 Hospital      kne¡¡¿   oia   danger and F¿iled to exercise ordinary c¿re to protect other patients

                 from that harm. Included in the known dangerwas the fact that another patìent had a

                 long lústory oFsexual assault and ye! Rolling Hills Hospital failed to protect the other

                 chilclren From         harm. In adclition, inspection reports, dating back to 2012, shovr a

                 myriad oF violations rångrng from unqualified stafï to patient rights to maintenance

                 issues. Included          in these reports        are the instances where adolescent patients were

                 restrained and secluded rvith no document¿tion                      of   st¿ted medical reasons   or   the

                 duration       of   patients' seclusion; there were also times when patients were left

                 unmonitored.

          a      In    2017, in Philadelphi4 Pennsylvania               to suicides occurred within a one-week period

                 at Belmont Hospital. The lawsuit that was filed, alleged that the faúlity                         lacked

                 sufficient and appropriately trained staff. Numerous inspection reports detail the lack

                 of staff and the subpar trarning to prevent suicides at the facility.

                 ln    2017,    in Fort l\{yers, Florida, ¿t Park Royal Hospital, the facility's top physician

                 resþed. He had been working                      at Park Royal since 2012 anð cited the decline of the

                 Facility under Âcadia.          Ån inspection report FromJanuary 9,2t18, shows a number                 oF


                 deficiencies at the fzcihty including many instances of violations of patienæ' rights.

          o      Harbor Oaks Hospital in New Baltimorg Michþn, Nt -ilcaðia owned Fzcìlity,has been

                 accused       of rampant patient and              stafF abuse. There have been reported patterns oF

                 abuse and allegations             of both physical and sexual            abuse   of patients. Some staff
                 members                       voiced their concems          to   management about the understaffing

     2l   Cral   a.   Acadia Healthcarv Cnrypa,¿J, Inc., et al.
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              protrlem, but they said their concerns were repeatedly                þored and cited colporate
              profits as the reâson vhy. [t was not uncommon for there to be only                   Frve (5) stafF

              members to care far 32 patients; sometimes that number chvindled to two (2) or three

              (3)   saff leaving a more than      10 to one patient ratio.

          o   In lllinois, in 2018, plaintiff filed a lawsuit on behalFoFthe Estate of Grace Cho against

              Timberline Knolls Residenti¿l Treatrnent Center, an Âcadia ownecl Êacility. The lar¡¡suit

              alleges that Cho was admitted              to Timberline Knolls psychiatric treatrnent. Despite

              knowing that Cho was on suicide watch, they allowed her to leave the premises. They

              failed to properþ secure the premises and as a result, Cho sustained iniuries that

              resulted in her death- In another lawsuit in August 2018, against Timbedine Knolls, a

              counselor was charged with sexually assaulting a female patient during their therapy

              sessions. ,{, larvsuit from 2015, also against Timberline Knolls, alleges that Timberline

              Knolls and its staif shorved complete and utter indiFference for the safety of its patients

              and failed to supervise, monitor, and protect plaintiff from the violence of other

              patients.   In addition, the staff         Failecl   to intervene and stop the physical and verbal

              attacks on plaintiff by the other patient.

          a   In 2t17, in Clark County, Nevad4 a lawsuit rvas filed against Seven Hills Behavioral

              Health I-Iospital, an
                                       '{cadia
                                                 facilþ.      The plaintiff was suffering from an anxiety attack

              and was admitted to Seven Hills Hospital for                treatment While there,   she vsas   in the

              presence    of z rrøle patient who invaded her personal              space and made express, and

              inappropriate, romantic gestures to her. This male patientwas given free rein and was

              allowed     to condnue to     harass the plaintiff. The concluct was so obvious that other

              patients took notice and attempted                    to help plaintiff.   Despite plarntifFs many

              complaints to staff they were all ignored, and her concems were never investigated.
          Grry v. Acadia Healthmn Co@ary, Inc., et a/.
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                  The male patient eventually got into plaintiFFs room and exposed himselt to her.

                  Seven Hills Hospital hacl knowleclge of the male patient's prior cc¡ncluctand apgressive

                   lrehavior and yet took no action to inten'ene even when plaintitïcomplained.

              o    In 2017, in Indiana, an investigation revealed that the stafl at the Resource Residential

                  T'teatment facility not only allowed fights            to happen amûng the patients, but     e'i¡en


                  encouraged       it for entertainment         purposes. The investigation shovrr-ed that betq¡een

                  January and Nor.ember            of 2017, there was an     a\rerage   of more than 35 resident-on-

                  resident ¿ssaults each month. In addition, there have been se\.eral incidents reported

                  rvhere staFímembers have been violent rvith the patients including sexual assaults.

              o   In htay 2018 in Ohio,Jan Dye, a patient at the Ohio Hospital for Psychiatry, which is

                  owned by Acadia, was severeþ mistreated aFter she was admitted for treatment of her

                  bipolar clisorcler. Dye rvas recovering From a broken rvrist she hacl sust¿inecl before

                  being aclmittecl. W'hile rn the Ohio Hospital, Dye rvas restrained on a bed, denied food

                  'and   water, ancl was overrnedicated. In aclditioc, her rvrist was rebroken, resulting in

                  four more surgeries. In addition to Dye's story, there are other systemic issues at Ohio

                  Hospital for Psychiatry that have been investigqted and documented. The                     issues

                  include violations of patient safety, c'are, and treatrnent standards.

    98. Upon information and belie{ the patterns and behaviors of misconduct at Rolling Flills rvl'ren

       R.B. was raped f-ollorv the pattem oFconduct in Acadia facili¡es. Upon informadon and belief,

       Rolling Hills had unqualifred employees, rvas understaffed, failed to follow or enforce policies

       and procedures, and engaged in a pattem ancl practice of placing adolescent residenæ to merely

       fill   becls.   Upon information and belief, this concluct was the direct rcsult of thc corporate

       culture and business model of Acadia.

    99. As a direct and proximzte ar legal result of Defendants' actions, R.B. has been injured.
              Crry u. Acadìa Healtltcarc Compap, Int., et al.
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    100. R.B. also seeks treble damages, in an amount tn be determined at the time oF trial.

    101.   The actions oF DeFendants have Forced R.B. to retain counsel to represent her in the

        prosecution of this action, and she is therefore in entitled to an arvard oFa reasonable amount

        of attorneys' tèes and costs.

                                                       V. COUNT III
                                                       Civil Conspiracy

    102. The allçgatìons         of the preceding and succeeding paragrâphs are incorporated herein by this

        reËerence.


    103. DeFendants combined together to accomplish the unlawful purpose oF delrauding resiclents

        and their health insurers.

    104. Acadia Facilities have combined together to cornmitwrongful acts pursuant to the conspiracy,


                   'tcadia entities, including Rolling Hills.
       vis-à-vis

    105. Specificall¡ upon information and                  beliet Acadia has committed fraud by making promises

        to ensure the saiety of adolescent residents of Rolling Hills while intentionally understaffing

        facilities, and choosing not to provide adequaæ levels of staff, thereby endangering the safety

       of adolescent residents such             as   RB..

    106.   Upon further information and belief, ,tcadia has committed fraud by falsely and/or

        fraudulently advertising the safety oFresidents and holding imelf out as a residential treatment

        for treating adolescents despite providing inadequate levels of staffing and not providing for

       the safety of residents. Ãczdiz has made these representations despite har,-ing knowledge of

       the multiple investigations, incidents of death, sexual assaulg physical assaulg and complaints

       of understaffing nationwide at Acadia facilities.

    107. Specificall¡ upon information and belief,Jacobs and Acadia have committed Fraud by making

       promises to provicle aclequate staffing levels and to ensure the safety             of residens of Desert

             CrE   a.   Acadia Healthcøn ConparJ, Inc., et al.
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       Hills while intentionally undentaffing facilities and choosing not to provide adequate levels ot

       staff drereby enclangering the safety                  <iF    residents such as RB.

    108. Defendants h¿ve committed                  fraud ancl misused funds by misusing residents' insurance

       proceeds ¿nd coverage, have billed for sen'ices not received including pa¡ing For stafFrvho

       allowed residents to be beaten, abused, sexually assaulted, and elope from iacilities.

    109. DeÉendants committed fraud and misused funds bv misusing residents' insurance proceeds

       and cor.erage by charging for services, such as assessments for placement done by saff

       unfamiliar ¡r-ith the DSh{ IV manual and Failing to take into account residents' histories and

       physicals.

    11û. ÐeFendants have committed Fraucl and misused funds by repeateclly hired unqualifiecl persons

       with criminal histories            ancl employment histories that should have disquatified them from

       working in .{cadia facilities.

    111. Defendants have committed fraud and misused funds by repeatedly failed to report                       inciden*

       and/   or downgraded the incident level of incidents that have occurred in facilities to                    ar.oid

       reporting incidents to authorities, go\¡ernmental agencies, and residents' own parents and

       guardians, to hide the incidents occurring in facilities and to avoid losing residents and their

       insurance proceeds.

    112. Ðefendants have committed fraud and misused funds by billing                        for services never provided,

       failing to keep residents           saFe, and   subiecting residents to violence and sexual aftack.

    113.   Upon information and belief, numerous patiens and residents, including children and

       teenâgers, have died due              to   ,A.cadia's negligence. There are numerous,        recurring reports of

       sexual and physical abuse at Acadia facilities, some oF which is carried on by employees                        of

       -Acaclia:




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                 In 2007, in .{rlc¿nsas, a five-year old boy was killed at Ascent Children's          Healdl

                 Services when Âscent employees left him in a hot van for 8 hours. Ascent is owned

                 by                        'already on probation due to anot'her boy left unsupervised for
                       "tcadia -¡tscentwas
                 houns and was found bloodied and bruised. The State           of Àrkansas later launched   an

                 investìgation into incidents of alleged mistrearnent of children.

          o      In Oklahoma,          fecleral inspectors documented 64 separate violations at Rolling Hills

                 Hospitai since Acadia acquired itin2Al2. Âmong the findings, inspectors determined

                 that 26 deaths went unreported. Other complaints included assaults and rapes, and

                 accus¿dons th¿t -,tcadia ordered its employees to remove security câmeras and destroy

                 video surveillance.

          a      ln    2016, a lawsuit was filed against Valley Behavioral Health Systems and ,tcadia       lor

                 the violent rape of a resident by another resident Valley Behavioral Health allegedly

                 placed      a rrnle patient with severe mental health issues in the same hall as female

                 residents. The male patient grabbed a female patient, pulled her into a roorr¡ and

                 violently raped her.

          o      In New        Mexico, .Acadia-or¡¿ned Desert Hills has been the subject of numerous

                 complaints.       In20l6,a yûung residentwas allowed to escape fiom Desert Hills during

                 â trip to a hospital because Desert Hills did not provide the required number of

                 employees to trarisport him. The young man was on the run for 3 days before being

                 shot by a homeowner. Desert Hills has previous been the subject of numerous calls

                 out to it by Âlbuquerque Police Deparurreflt ("APD') for residents being on the roof

                 of the facility. A         sexually predacious resident was housed   with a younger, more

                 vulnerable resident and sexual abuse occurred. Another incident occurred where a


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               )roung resident was raped by a male staff member and Desert Flills' response wås to

               cor.er up the rape and merel¡' sencl the staFFmember home Ëor one (1) day and clid not

               notify the mother of the young resident undl               ¿   visit u,'ith the mother a few days later.

               Desert Hills has two (2)                                   -   the CEO and COO. ,\cadia sets the
                                        '{cadia employees

               budçt     Ëor Desert    Hills and that budçtgovems how much stafFc¿n be at the facility

                    zrry given time.   In   2014, the ÅPD      begn to prepare to declare Desert Hills         a public
               ^t
               nuisance because        of the number of        calls   to the facility. Rather than fix these issues,

               Desert Hills metr¡,'ith CYFD and received awaiver so ÅPD no longer had to be called

               for incidents at Desert Hills.

          o    In Pennsylvania, the Philadelphia Police Departrnent has responded at least 600 times

               betrveen 2011 and 2A1.6 to incidents at,{.cadia-owned Bellmont Behavioral Hospital.

          o In Florida, Acadia-owned              Park Royal Hospital has had similar complaints. In 2018,

              authorities were investigating tw'o (2) patient deaths and a sexual assault                    A former

               employee was convicted of raping 11 patients several years ago, rapes that the hospital

               could have prevented had it not             þored   waming       sþs.,{   2017 inspection determined

              that Park Royal is unclerstaffed and cânnot properþ supervise patients, þored

               complaints, and hacl poor quzlity control procedures in place. In2t14, inspectors cited

              Park Royal's failure to perform 15-minute checks required to keep patients safe. That

               tailure lead to death and rapes.

          o    In Phoenix, hr,zon4 inspectors declarecl a¡ immediate leopardy situation at Acadia-

               ov¡ned Sonora Behavioral Health Hospital.                 It found   that the hospital had inadequate

               staffing and nursing practices and environmental issues all ofwhich contributed to the

               death    of a patient by suicide. This is in addition to the                deaths   of multiple   young

                          after which                      determined that one Acadia staff                           tn
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                  the unit during these deaths was not qualiFred. Other investigations uncovered an

                  assault on a u¡lnerable person that was                    not reportecl to the police or the parents,

                  addition¿l unqualifred staff members, nurses drunk on the iob, medication errors,

                  improper use of physical restraints on patìents, lack o[patient supervision.

             o    In Tucson,,ttizona, Âcadia-ou¡ned Sierra Tucson has had several ìncidents                         as a   result

                  of violations oFpolicies ancl procedures. For e-xample, policies and proceclures require

                  staff to go to a resident's living quarten if the resident is more than 1S-minutes late

                  For a class.   On several occasions, residents rvere late, and no one checked on them.

                 Trvo (2) residents were later found dead as a result of suicide. Sierra Tucson has had

                 repeat and ongoing deficiencies                  with the   serr.ices   it   provides in its acute psvchiatric

                 unit. Five (5) men, all of whom were patients at Sier¿ Tucson, have diecl since 2011.

                 Three of them died from suicide, one died of dnrg toxiciç and the last man's body

                 was discor.ered tq¡o (2) weeks after he had disappeared; the autopsy was inconclusive.

             o   In Texas, federal inspectors found dozen of incidents of violence, patient assaults,

                 sexual misconducq and numerous escapes at Àcadia-orvned Cedar Crest. Staffing

                 levels were determined             to be below standard. Staff members                       reported unsafe

                 conditions and claimed that they have begged for help, because there is nevcr enough

                 staff even though the CEO of the hospital knows of these issues. This facilrty has                         .also


                 been subiect      of   a whistleblower lawsuit accusing                 it of billing Medicare, Tricare,    and

                 private institr¡tions for phantom services and falsi!'ing patient records for State audits.

             ¡   Ân investigation zt Acadia Montana tn 2tl6 found thatwithin a l3-week period there

                 were 128 patient assaults. Included in these incidents were staff handling patients

                 aggressively, leaving them unsupen'ised, and watching pornography                           in front of them.

                 The inspection noted that "staff reported the facility is understaffed."
    ôO   B   Crry u. Atadia Healtj¡carc Conpary, Inc.,   eî al.
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          o    In Fayetteville,,trkansas, there             are allegations dr¿t patients at Piney Ridge have been

               Forced   to fight with each other by members of the staff.

          a    ln 2016, at Valley       Behavioral, a female patient rvas violently raped by another male

               patieng both minors. The Facility allowed male and Female patients to be housed in the

               same hall and alloq¡ed many of the patients to go unsupervised. In acldition, the facility

              was understafFed and thereforc not able to provide suFñcient supervision                      of   the

               patients.

          o   Alawsuitrvas filed in 2017 againstLongleaFHospital, an Ècadiaowned facility,located

               in Louisian¿. The complaint alleges that the plaintifFs son was assaulted by                   stafF

               members ancl when she tried to remorre her son after the assault, Longleaf Hospital

              rvoulcl   not   release   him. In addition, I-ongleaf Hospital attempted to obstruct and

               prevent laq¡ enforcement offìcers from investigating the assault

          o    ln 2t76, in      Pennsylvania,       a patient at Belmont Behavioral Health Hospial               r.vas


              ¿ssaulted and sustained serious 'and permanent iniuries. A l¿r¡¿suit was filed alleging

               that the facility was understaffed, which resulted in patients being left unmonitored.

          a    Inspection reporß frorn 2015 and,2A16 indicate a number of deficiencies at Acadia's

               Delta Medical Center in Tennessee. The deficiencies include failing to give basic care

               such as baths and wound treatrnent to senior citizens and failing to take proper

              precautions to prevent elderþ patients from falling. In               2ïfi   in ,trkansas, a îwe-year

               olcl boy was killed at Ascent Children's             llealth Services v¡hen Ascent employees left

               him in a hot van for          I   hours. Ascent is owned by Àcadia. -A.scent was already on

               probation due to another boy was left unsupervised for hours and was found bloodied




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                   and bruised. The State of Arkansas later launched an ìnvestrgatìon intrr incidents ot

                   alleged mistreatrnent oF chilclren.

               o   [n 2A17, irt Ias Yegas, Ner.ada, an elderþ man admitted to Seven Hills was severely

                   beaæn up t¡y several people u"ho      hit him in his ears and Face, resulting in multiple

                   bruises, zlarge knot behind his    left ear,and his   e¿r badly bruised, tuming purple and

                   black, an<l a large bmise on his left arm.      In i![arch of   2017, the elderly man was

                   seriously beaten by a staff member of Seven Hills sho'ved him T gainst awall and pinned

                   him there. L¿ter that day, the elderþ man was transported to a hospital and found to

                   have sufFered a brain hleed.

               o In Apnl 2817, in Las Vega.s, Nevada, a young man with a history of selfharm was
                   released   from H'armony Health Care, despite knov¿n active psychosis, a¡rd self-

                   amputated his   rþht hand    ancl sabbecl himselFin the right eye in the attempt to remo\.e

                   his eysþ2ll due to his beliefs that he was possessed by demons and his actions would

                   cast the demons out.

               o   In 2A77, in
                                 '{da   Oklah otna., a husband filed a lawsuit on behalf of his wiFe against

                   Aczdia owned Rolling Hills Hospiøl for the Failure of the hospiøl to protect her from

                   the violence of another mentally ill patient. While rvaiting for medication, the   plaintiffs

                   wife was violently attacked from behind by a mentally ill patient x.ho had not been

                   segregated from the other patients. The plaintifFs wife was grabbed by her hair and

                   aggressively slammed into the concrete floor; she now suffers from permanent brain

                   darnage. There was     no supervision or security present because of the understaffing

                   problem. -Another larrsuiq also in 2017, involving a minor, alleges that Rolling Hills

                   Hospital knew of a danger and failed to exercise ordinary care to protect other patients

                   from that harm. Included in the knor,vn danger was the fact that another patient had a

     JU   fi
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                 long history oFsexual assault and yeq Rolling Hills Hospital Failed to protect the other

                 children from harm. In ¿ddition, inspection reporß, datìng back to 201! show                         a


                 myriad of violations ranging from unqualifìed st¿ff to patient rights to maintenance

                 issues. Included         in these repor¡s are the insta¡rces         lv'here adolescent patients were

                 restrained and secluded rvith no documenÞtion                      of   stated medìcal reasons   or the

                 duration oF patients' seclusion: there were also times when patients were left

                 unmonitored.

          a      In 2û17, in Philadelphia, Pennsylvania to suicides occurred within a one-week period

                 at Belmont Hospital. The lan¡suit that was filecl, alleged that the facility                     lacked

                 sufficient and appropriately trained staff. Numerous inspecdon reports detail the lack

                 of staff and the subpar training to prevent suicides at the facility.

          a      In    2A17,    in Fort Myers,       Florida, at Park Royal Hospital, the Êacìlity's top physician

                 resþed. He had been working                     at Park Royal since 2AI2 and cited the decline of the

                 facility uncler Acadia. An inspectioû report fuornJanuary 9,2A18, shows a number                     oi
                 deficiencres at the faciliry including many instances of vrolations of patients' rights.

          o      Harbor Oaks Hospital in New Baltimorg &fichigan, an Aczdìzowned facility, has been

                 accused       of rampant       patient and staff abuse. There have been reported pattems             of

                 abuse and allegations             of both physical ancl sexual abuse of patients.         Some staff

                 members allegedly voiced their concerns                    to   management about the understaffing

                 problem, but they saicl their concerns were repeatedly ignored and cited colporate

                 profits as the reason why. It was not uncommon for there to be only five (5) staff

                 members to care for 32 patients; sometimes that number dwindled to two (2) or three

                 (3) staff leaving a more than 10 to one patient ratio.



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          a    In lllinois, in 2018, plaintiffñled a lau"suiton behalf ot the Estate of Grace Cho against

               Timberline Knolls ResiclentialTreatmentCenter, an,{cadia owned Faciliç. The larvsuit

               -"illeges   that Cho ¡¡.as ¿rdrnitted to Timberline Knolls psychiatric üeatrnent. Despite

               knorving that Cho was on suicide u.'atch, they allorved her to lear.e the premises. They

               failed to properþ secure the premises and as a resulq Cho sustained iniuries tl-rat

               resultecl in her death. In another lawsuit in :lugust 2018, against Timberline Knolls, a

               counselor was charged wrth sexually assaulting a female patient during'thek therapy

               sessions.    Å lawsuit From 2015, also against Timberline Knolls, alleges th¿t Timberline

               Knolls and its staif showed complete and utter indiFference forthe safety of its patients

               and iailed to supervise, monitor, and protect plz:lr,t:Ff from the violence of other

               paaents. In addrtion, the statî fàiled to intervene and stop the physic-al and r,erbal

               attacks on plaintiff by the other patient.

          a    ln 2tl7 in Clark Counç Nevada, a lawsuit was filed agaìnst                 Seven Hills Behavioral

               Health Hospital, an ,{.cadia Facility. The plaintiff was suffering f-rom 'an anxief attack

               ¿nd was admitted to Seven Hills Hospital for treatment. li¡hile there, she rvas in the

               presence oF a male patient              who invaded her personal space and made express and

               inappropriate romantic gestures to her. This male patient was given free rein and rvas

               allowed to condnue to harass the plaintiff. The conduct l"\'as so obvious that other

               patients took notice and attempted                  to help plaintiff.   Despite plaintift's many

               complainæ to staff they were all ignored, and her concems v¡ere never investigated.

               The male patient eventually got into plaintiFPs room and exposed hrmself to her.

               Seven Hills Hospital hacl knowledge             of the male patient's prior concluct and aggressive

               behavior and yet took no action to inten ene even when plaintilf complained.



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             o      [n 2Al7,in Indian4 an investigadon revealed that the staff at the Resource Residential

                    Treatment facilit¡'not crnll' allor¡¡ed fìghts to happen among the patients, but                    e'ioen


                    encouraged         it   Ëor entertainment purposes. The investigation shorvecl that between


                   Januaryand November oF20[7" there wäs an a\:erage oFmore than 35 resident-on-

                    resiclent assaults each         month. In addition, there have been several incidents repofted

                   r,r.'here stafF members have been                violent u.ith the patienrs including sexu:rl assaults.

             o      In    N,tay 2018,    in Ohio,Jan Dye, a patient at the Ohio Hospital tbr Psychiatry,'-vhich is

                    owned by.{cadi4 was severely mistreated at-ær she was admitted For treatment of her

                    bipolar disorder. Dye was recovering frarn z broken rvrist she had sustainecl before

                    being aclmitted. \Xhile in the Ohio Hospital, Dye was restr¿ined on a bed. denied food

                    and water, ¿nd was overmedicated.                   In addition, her rv-rist was rebroken, resulting in

                    four more surgeries. In adclition to D¡.e's story, there are other systemic issues at Ohio

                    Hospital for Psychiatry that have been investigatecl a:rd documentecl. The                         issues


                    include violations of patient safèty, c,are, and treatment standards.

    114. Upon information and betief the patterns and behaviors                           of misccnduct at these facilities

        existed at Rolling Hills when R.B. was raped. Upon information and belief, Rolling Hills had

        unqualified employees, was underst¿ffecl, failed to follow or enforce policies and procedures,

        ancl engaged         in a pattern and practice of merely placing chilclren to fill beds. Upon information

        and belie[, this conduct rvas the direct result                  of the corporate culture    'and business model     of

        Acadia, which rvas created by Jacobs. This conduct v¡âs done                            in furtherance of the civil

        conspiracy between Jacobs and Acadia ancl its constituent members and effectuated through

        ,{cadia enddes, such as Rolling Hills.

    115.   As a direct and proximate or legal result of Defendants' civil conspiracy, R.B. has been

        iniured.
             Crry   a.   Acadia Healtltcarc Conþary, Itt., et a/.
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    116.   The totality of circumsbnces underlf ing this matter allows reasonable inference oF a civil

          conspiracy.

    117. Âs a result     of the civil conspÞacy, Defendarlts are iointly and severally liable for t}re torts oi

          any member of the conspiracy.

    1   lB. Further, DeFendants' acts andlor omissions described herein were rnalicious, willFul, reckless,

           ar:d/or wanton, displaying a conscious, deliberate, andf or reckless disregard of, or utter

          indifFerence to, harmñ;l consequences. including the health and safety                      of R.8., resulting in

          infuries and harm to R.8., jusnfying an ar¡rard of punitive damages.

    119.   ,t corporation     may be held liable for punitive damages for a culpable rnens rq. demonstrated

          by the actions andl or omissions by its employees, when viewed in the aggregate. The actions

          andlor omissions of Defendants' employees andf or agents viewecl in the aggregate determine

          that Defendants had the requisite culpable mental state because of the cumulative conduct                     oi
          their employees and/or agents. The culpable mental state of DeFendants may be vieu"ed from

          the very fact thzt one employee andf or agent could be                  þorant of the acts or omissions of
          other employees with potentially disastrous consequences. The toalrt¡' af the circumstances

          indicates DeFendants'wanton andlor reckless disregard for the lives, salety and/or property

          of other persons, including the life,           saQety, health, and   well-being of R.8..

                                                       VI. COUNT TV
                                                         Negligence
 Negligence

    120. The allegations       of the preceding and succeedingparagnphs are incorporated herein by this

          reference.

    121. Defendants owed            a duty to exercise ordinary care anð act as a reasonable and prudent

          company would under the same or similar circumstances, including, but not limited to,

          ensuring the safety of R.8.. Defendants breached that duty and were negligent. Def:endants'
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       neglþnce was the sole proximate cause and/or a proximate cause oË RB.'s                        iniuries.

       DeFendants' negliçnce includes, but is not limired to, the Following:

       .        trailing to secure R.B. in a safe environmenc

       ¡        F¿iling to reasonably exercise custodial control over R.B.;

       o        Failing to rea^sonably exercise fu hcopamtis powers over R.B.;

                In neglþntly hiring supenising zndf or retaining control of employees who manage,
                direcq and.lor control operations on behalf oFDefendants;

       a        In failing to oiercise their authority to control the manner in which work was pertormed
                to adequately train their employees and/or agents to keep safe custody of R.B.;

       o        In failing to have appropriate policres and procedures, or, in the alternative, failing to
                enforce their policies and proceclures;

       o        In other      respects to be found during the course   of discovery.

    122. Further, Defendants'acts zndlar omissions described herein were malicious, willful,

       reckless, andlar wânton, displaying a conscious, deliberate, andlar reckless disregard of, or

       utter indifference to, harmful consequences, including the health and safety of R.8., resulting

       in injuries and harm to R.8., justifying an arvard of punitir.e clamages.

    723.
           '\   corporadon may be held liable lor punitive damages tbr a culpable mens rea demonstrated

       by the actions andloromissions by its employees, when viev¡ed in the zggregãte.The actions

           and/ or omissions of Defendants' employees and,f ar agents viewed in the aggregate determine

       that Defendants had the requisite culpable mental state because of the cumulative conduct             of

       their employees andfor agents. The culpable mental state of Defendants may be vie¡¡'ed from

       the very fact ú'vltone employee andf or agent could be              þorant of the acts or omissions of
       other employees with potentially disastrous consequences. The totality of the circumstances

       indicates Defendants'wanton and/or reckless disregard for the lives, safety and/or property

       of other persons, including the life, safety, health, and well-being of R.8..
                Crq   u.   Acadia Healthcøv CnnpønJ, Int., et   aL
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 Resoondeat Sunerior

    124. Defendants are vicariously liable For the damaçs proximaæly caused to ILB. by virtue ot the

        negligent conduct of their employees.                            .{t   the time of the inciclents underþing t}ris matter,

        DeFendants had employees who were actingwithin the course and scope of their employment

       with DeFendants and were neglþent The negtþnce oFthese employees was a proximate cause

        oF R-B.'s injuries and harm. Therefore, DeFendants are vicariously liable                                to RB. for the

        negligent acts and/or omissions for their employees on the basis of respeincleat superior.

    125.   The agents and employees of Defendants, including but not limited to Jason H., had, and

        exercised,        sþificant authority and control over R.B.

    126. DeFendânts conferrecl the authority over children at its facility, including R.8., upon its agents

       and employees as part of their agency.

    127. Defendants' employees, includingJason H., were aided by their agency                                with Defendants in

        the commission of the harms and iniuries perpetrated against R.B.

    128. Defendarìts are vicariously liable                 for any and all wrongful acts and conduct ofJason H. for

       the injuries he caused R.8..

    129. Furthermore, DeFendants are vicariously liable for punitive damages based on the conduct                              of
       their employees, officers, andlor principals. Defendants' employees, officers, a¡d/or

       principals were acling in the couße and scope of their employmentwith Defendants ancl had

       suftìcient discretionary authority to spezk for them w-ith regard to the conduct at issue,

       independent of higher authority.

    130. Defendants' ¿cts and omissions described herein were malicious, willful, reckless, or'\r/anton,

       displaying a conscious, deliberate or reckless disregard of, or utter indifference to, harmful

       consequences, including the health, safety, ancl well-being of R.8., ancl other persons, resulting

       in the harm and injunes suffered by R.8..
              Crry   u.   Atadia Healt]¡can CoftlpdtlJ, Inc.,   et al.
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    131. DeFendants authorized, participated                  irq   znðf   or   natified the conduct   of dreir employees,
        officers, and/or principles. ThereFore, Defenclants are vicariously liable For punitive damages

        lmsed on their authorization, participation, and/or r¿tific¿rdon                         of the conduct of their
        employees, officers, andf or principals.

 Negligent Selection Retention, and/or Supervision

    132. Defendants are subject       to liability for harm to persons, such              as   RB., for DeFendants' f¿ilure

       to   exercise reasonable care        to employ competent                   ancl careful employees zndf    or   agents.

        DeFendans breached their duty to select, retain, andlar superrise such emplo)rees and/or

       agents and were         neglþnt in their selecticn of employees and/or                          agents   to work      at

       Defendanu' Fzcility       -   Rolling Flills. Defendanß' negligence was the sole proximare cause

        and./or a proximate cause of R.B.'s iniuries and harm. Defendants'neglþnce includes,                           tut   is

       not limited to:

                o    Failing to select employees and/or agents who could skillfully and carefully

                     perform work involving risk of harm to juvcniles;

                .    Failing to select employees                  and/t    âgerts who could properly perform any duty,

                     which an employer owes to third persons;

                o    Failing to ensure that employees and/or agents v/ere properþ trzrined;

                o    ¡ailing to supervise such employees and/or agents.

    133. During the time of R.B.'s residential treatrnent in Rolling Hills, Defendants became aware, or

       should h¿ve become Lw^re, of problems and,/or conduct th¿t indicated unfitness of such

       employees     mð/or     agents. Defendants failed              to take further acdon to investigate, discharge,

        znd,lor reassign such employeeandf ar agents and R.B.'s damages were caused by Defendants'

       negligent hinng, reteniion, and/or supervision of such employees and/or agents.


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    134. DeËendants had a duty             to select employees/agens drat performed r¡'ork rvith due dilþnce,

        in a good lrvtnner, using competent and experienced employees/agents in accordance w'ith

       recognized industry practices, and that would comply with all applicable rules a¡rd regulations

       and standards oF Det:endants concerning safety, security, and well-being of persons and

        property. Defendanæ breached this duty in selecting employees/agents that were unfit.

    135. DeFendants rehined employees/agents who were incompetent and failed to conductwork                        in

       accorclance w-ith industry practices                anil that rvould comply with all applicable nrles and

       regulations and standards of Defendants concemingsafet¡', securiç andwell-beingof persons

           and/or property.

    X36. Defendants          kneq or should       have knowq that the employees/agents were incompetent and

       failed to work in accordance rvith industry practices, and that they would not comply with all

       applicable nrles and regulations and standards of DeFendants conceming safety, security, and

       well-being          of persons anðf ar property. Additionally, Defendants failed to supenise               the

       conduct and/oru.'ork being performed by employees/agents w-ho were incompetent and failed

       to conduct rvork in accordance with recognized industry practice.

    137. Further, Defendants' acts zndf ar orrissions described herein were malicious, willful, reckless,

           anð/or wanton, displalng a conscious, deliberate, andf                u   reckless disregard   of, or utter

       indifference to, harmful consequences, including the health and sa-fetv of R.8., resulting in

       iniuries and harm to R.8., justiFying an award of punitive damages.

    138.   A corporation may be held Ìiable for punitive damages for a culpable mens rea demonstrated

        by the actions and/or omissions by                i* employees,   when viewed in the aggregate. The actions

           and/or omissions of Defendants'employees andforagents viewed in the aggregate determine

       that Defend¿nts had the requisite culpable mental state because of the cumulative conduct                    of

        their employees and/or agents.'Ihe culpable mental state of Defendar¡ß may be viewed From
              CrE   a.   Acadia Healthrare Co@anj Inc., et al.
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        the very Fact that one emplo¡'ee and/or agent could be                  þorant      oF the acts or omissions oË

        other employees rvith potentially dlsastrous consequences- The totality of the circumstances

        indicates Defendants' wânton and/or reckless disregirrd For the lives, safety and/or property

        of other persons, including the life,              saFety, health, and well-being   oFRB..

    139. Defendants         are vicariously liable for punitive damages based on the conduct oF their

        employees, ofÊcers, andl o principals. DeFend¿nts' employees, officers, and l ar pnnctpals were

        acting in the course and scope of their employment with l)efendants and had sufficient

        discretronary authority to spe'ak for                it with regard to the conduct at issue, independent of

        higher authority.

    140. Defenclants' acts and omissions described herein were malicious,                   willful, reckless, or wanton,

        displaying a conscious, deliberate or reckless disregard of, or utter indifference to, harmful

        consequences, including the health, safety, and well-being of RB., and other persoris, resulting

        in the harm and iniuries suffered by R.8..

    141. Defendants authorized, paracipated in, andfor rati6ed dre conduct of their employees,

        officers, andlor principles. Therefore, Defendants are vicariously liable for punitive damages

        based on their authorization, participation, anófor ratification                     of the conduct of         their

        employees, officers, and I or principals.

 Violation of Statute/Negligence Per .9e

    142. Defendants         violated the Children's À{ental Health and Developmental Disabilities Act,

        N.M.S,{. 1978, Sections 32-4.-6'{-2 through 32A-6A-30, in that they tailed to provide

        appropriate sersices and treatrnent to R.B. failed to provide a condnuum of services to address

        to R.B.'s habilitation and treatrnent needs, failed to provide R.B. with                   access   to   services to

        identifr, prer'enq and intervene For R.B.'s mental health needs, and failecl to protect the

        substandve and procedural rights of R.8., regardless of setting. This section proscribes certain

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       actìons andlor creates                    a standard oF conduct ¿nd Defendants' conduct represents               an

       unexcused violation oF this standard- R.B- belongs                      to the class of persons that this Àct rvas

       mearrt to protect and his harm or inju4, is generzrlly of the type this ordina¡rce/section/stanrte

       is   seeks           to pre\¡ent The Children's Mental Healù and Developmental Disabilities Âcq
       N.lvts.,t.           1978, Sections 32't-6.4.-2 through 324-6,t-30, was enacted             for the satety and well-

       being of the public, generall¡ and R.8., specifically.

    143. Defendants violatecl                 the Chilclren's Mental Health and f)evelopmental Disabilities Acq

       N.M.S.'\. 1978, Section 3?-4.-6Å-12,'rnrhatthey Failed to provide R.B. with a saFe, clean, and

       comfortable environment This section proscribes ceftain actions and/or creates a standard

       of conduct and DeFendants' conduct represents an unexcused violation of this standard. R.B.

       belongs to the class of persons that this Act was meant to protect and his harm or iniury is

       generally of the type this orclinancefsectionfstatute is seeks to prevent. The Children's Mental

       Health and Developmental Disabilities Âcq N.M.S.À 1978, Section 3LÊ'-6A-12 was enacted

       for the safety and well-being of the public, generally, and R.8., specifically.

    144. DeFendants violated                  the Child¡en's Mental Health and Developmentâl Disabilities Acg

       N.Ivt.S.A. 1978, Section 324-64-17,                         in that they failed to fulfìll their oblþtions as an
       appointed guardian on behaif of R.8., inclucling but not limited to, failing to make decisions

       on behalf of R.B. in their best judgment of the treâtment appearing to be in the best interests

       of R.B. and               consistent rvith the least restrictive mqrns principle for accomplishing the

       obiective, failed             to consult with R.B. regarding previous decisions made by R.B. in similar

       circumstances when RB. r.vas ¿ble to make decisions and Defendanre failed to make decisions

       in accordance with known values of R.B. or best interesß of R.8.. This section proscnbes

       certain actions anðf or creates a stanclard of conduct and Defenclants' conduct represents ân

       unexcused violation                 of this standard. R.B. belongs to the      class   of persons that this Act was
            Ë
                Crry   a.   Acadia ITealthcaru Conpaø3, Int., et a/.
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       meant       to protect and R.B.'s h¿rm or iniury is çnerally of the q?e this
       ordinance/section/stahrte           is   seeks   to   prer€nL The Children's Mental Health          and

       Developmental Disabilities Âcq N.M.S.Å. 1978, Section 32Â-6.{-17           w-as   enacted For the safety

       and well-being ot- the public, generall¡ and R.8., specifically.

    145. Defendants      violated the Children's Mental Health and Developmentâl Disabilities .{cq

       N.M.S.À. 1978, Section 32A-GA-18                 in that they failed to ake into    account indir.idual

       instructions. This section proscribes certain acdons andf or creates a standarcl oFconcluct ancl

       Defendants' conduct represents an unexcused violation of thìs standard. R.B" belongs to the

       class oF persons that this       Act was meânt to protect and R.B.'s harm or injury is generally of

       the type this ordinance/secttonfstltute is seeks to prevent. The Children's Mental Health and

       Developmental Disabilities Âcg N.À{.S.,A.. 1978, Section 324-6,{-18 was enacted for the safety

       and well-being      of the public, generall¡ and RB., speciñcally.

    146.   Nothing in the Children's Mental Health and Developmental Disabilities ,{ct shall                be

       construed to relieve any professional or facility from liability for neglþnce andf or intention'¿l

       misconduct in the diagnosis, treatment, andlor sen'ices provided to any child pursuant to

       N.M.S.A. 1 978, Sectio n 32A-6Ã-23.

    147. DeFendants violated the Residential Treatrnent Progrzm          ,tct, N.M.S.A. 1978, Sections 32,1-

           12-1 through 32h-12-2, and regulations promulgatecl pursuarftto that,{.cq Sections 7.2t.1.1

       through 7.20.17.7,7.2A.71.16,7.20.fl.30,md7.20.72.35F) and (I), in that they failed to fulfill

       minimum standards proscribed to be met by residential treatrnent progr¿ms, including

       protecting R.B. from z*zck. This section proscribes certaiî acdons and/or creâtes a staridard

       of conduct and Defendants' conduct represents an unexcused violation of this standard. R.B.

       belonç to the class of persons that this Act was mearìt to protect and his harm or injury             ìs


       generally of the type this ordinance/section/statute is seeks to prevent. 'I'he N.M.S..A. 1978,

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       Sections         3L\-12-l through 32A-I2-2, and regulations promulgated pursuant to that Act,

       Sections 7-2AJ.l thrcugh 7.20.11.7,7-2AJ1.16,7.20.11.30,and              70.20.12.35(E) were enacted

       for the safety and well-being oithe public, generzrlly, 'and R.8., specifically.

    148. Äs a direct and proximate result oF DeFendants'            neglþnce per   se, R.B. incurred d.am.ages,

       resulting in an amount oi damages to be pro\,'en at trial.

    I49. Further, ÐeFendants' acts andlor ornissions clcscribecl herein rvere malicious, willful, reckless,

        'and/or wanton, clisplaying a conscious, cleliberate, andfor reckless clisregartì of, or utter

       indifFerence to, hannful consequences, including the health and safeqv of R.lì., resulting in

       injuries and harm to R.8., iustilying ¿n a'uvard of punitive damages.

    I50. A coqporation may be held liable for punitive damages for a culpable mens rea demonstrated

       by the acdons         and/or ornissions by their employees, rvhen vierved in the aggregate. The actions

       and/or omissions of Defendants' employees andfor agents r.iewed in the aggregate determine

       that Defendants had the requisite culpable mental state because of the curnuladve conduct             oi
       their employees anclf or agents. The arlpable mental state of l)efendanm may be vieri,ed from

       the r,-ery fact that one employee and/or agent could be          þorant of the acts or omissions of
       other employees rvith potentially disastrous consequences. The totzlity of the circumstances

       indicates Defendants'wânton znd/ar reckless disregzrd for the lives, safety and/or property

       cf other persons, inclucting the life, safety, health, and well-being of R.8..

    151. DeFendants          are vicariously liable for punitir.e damages based on the conduct         of their
       employees, ofñcers, andlor principals. Defendants' employees, officers, znðf              or principals

       were acting in the course and scope of their employment with Defendants and h¿d sufficient

       discretionary authority to speak for them with regard to the conduct at issue, indepenclent           of

       higher authority.



            Crry   u.   Acadia l-Lealtl¡ure Cbnpary, Inc., eÍ a/.
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    152. Defendants' acts and omissions described herein were malicious, willful" reckless, or wanton,

         displaying a conscious, deliberaæ or reckless disregard oF, or utter indifference to, harmful

         consequences, including the he¿Ith, safety, and. u"ell-being of RB., and other persons, resulting

         in the harm and injuries sufFered by RB..

    153. Defendants authorized, participated                       ir¡ tnd/or    ratified the conduct oF dreir employees,

         officers, andlor principles. Therefore, Defendants are vicariously liable For punitive damages

         based    on their authonzatton, participation,                   zndf   or ratification of the conduct of their
         employees, oFficers, andf or princþals.

 I iabiliw for Nondelesable Dutv

    154. Due to the nature            of the relationship and obligations enterecl into by Defendants               as a result

         of the contracts involved in this case, including but not limited to, Rolling Hills' role as

         custodian for R.8., DeFendants had               a nondelegable         duty Forwhich they cannot escape liability.

    155. The duties created by the relationship between Defendanæ and R.B. were nondelegable.

    15ó. As a result        of the nondelegable nature of Defendants' duties in this               case, they are   jointly and

         severally liable for damages caused to R.8.. To the extent Defendanæ seeks to hold any other

         entity liable for RB.'s damages and iniuries, Defendants are iointly and severally liable for both

     '   the   liabilþ of those en¡ities         and   of zny other persons or entities to which their nondelegable

         duties apply.

                                                        VII. COUNT V
                                                      Professional Liability

    157. The allegations of the preceding and succeeding paragraphs are incorporated herein by this

         reference.




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    158.   In the operation of Rolling Hills, and in the                  care of residents like R.8., Defendanb ou¡ed a

       proFessional duÇ to provicle appropriate supervisions oF residents in a residential treatment

       facility.

    159. Defendants owed a proFessional duty                      to   engage   in sufEcient background investigation ¿nd

       inquiry so as to develop an understanding of the risks and dangers presented for each resident

       within their Faciliç including R.B-.

    160.   f)eiendants knew,           or should have known, that it wzs foreseeable that                 adolescents in

       residential treatment facilities, without adequate supervisior¡ would be vulnerable to predation

       by facility stafF.

    161. DeÉendants knew, or should have knovrn, that itwas foreseeable that R.8., without adequate

       supervision, would be in danger from other predatory staff.

    162. Defendants breached their professional duty by failingto take adequate steps to protect R.B.

       when:

                    o      It failed to provide     adequate supervision over R.B.;

                    o      It failed to keep RB.      safe;

                    o      Jt fziled to provide proper training to staff;

                    o      It allowed R.B. to be atr¿cked without adequate supervision;

                    o      It knew, or should      have known, that R.B. would be at risk and did not take

                           appropnate steps to supervise and protect R.8..

    163.,4,s a direct and proximate cause              of Defendants'acdons anólor omissions, R.B. suffered

       physical bodily iniury and damages.

    164. Further, Defendants' acts and/or omissions described herein were malicious, willful, reckless,

           and/orwanton, displaying a conscious, deliberate, zndf ot reckless disregard of, or utter


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        indifference to, harmËul consequences, including the health and safegv oi R.8., resulting in

        iniuries and harm to RB., iustifring an award oFpunitive damages.

    165. -A corporadon may be held liatrle             for punitive d'amages for a culpable rnens rea demonstrated

        by dre actions and/or omissions by their employees, when vievu"ed in the aggregate. The actions

        andlor omissions of Defendans'employees andforagents viewed in the aggregate determine

        that DeËendants had the requisiæ culpable ment¿l state because oF the cumulative conduct oF

        their employees anclfor agents. The culpable mental state of l)efenclants may be vierved from

        the very Fact rhat one employee andfor agent could be                     þorant   oF the acts   or omissions oF

        other employees rvith potentially disastrous consequences. The totalrty of the circumstances

        indicates Defendants'wanton a:td/ar reckless disregard for the lives, safety and/or property

        of other persons, including the life, safety, health, a¡d v¡ell-being oi R-8..

    166. DeFendants ãre vicariously               liable for punitive damages based on the conduct              of   their

        employees, ofFtcers, zndf            or principals. Defendants' employees, officers, and/or principals

        were acdng in the course and scope of their employment with Defendants and had sufficient

        discretionarT authority to speak for them                        regard to the conduct at issue, independent   oi
                                                                 "vith
        higher authority.

    167. DeFendants' acts and omissions described herein were malicious,                   willful, reckless, orv¡ânton,

        clisplaying a conscious, deliberate or reckless disregard of, or utter indifference to, harmful

        consequences, including the health, safety, and well-being of R.8., and other persons, resulting

        in the harm and injuries suffered by R.8..

    168. Defendants authorized, paracipated                  in,   zndf   or ratified the conduct of their   employees,

        offìcers, and/or principles. Therefore, Defendants are vicariously liable for punitive damages

        based on their authorization, pârticipation, and/or ratifìcation                     of the conduct of       their

        employees, offìcers, znðf or principals.

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                                            VNI. COUNTVI
                                         Breach of Fiduciary Duty

    169. 'lhe allegatìons of the preceding and succeeding paragraphs are incorporated herein by this

        reFerence.

    170. .{.t all times material   t<r the   alleptions set forù in this lawsuit, Defencl¿nts knew R.B. was

       vulnerable to injury and in need of residential treauTrent services.

    171. Defendants kneq¡ that R.B. rvould suffer rniury and harm if she was not properly supen'ised

       and protected.

    172. Defendants assumed duties as R.B.'s Êduciary, caretaker, and custodian when Defenda¡rt

       Rolling Hills became RB.'s appointed custodian.

    173. Defendants assumed duties           as R.B.'s fiduciary, caretaker, and custodian when Defendants

       chose to admit R.B- to the Rolling Hills facility.

    l7-1. Defendants breached their fiduciary duty to RB..

    175. As a direct and proximate result of Defenda.nts' breach of duty R.B. suffered physical bodiiy

       iniury menu'l iniury and       damages.

    176. Further, DeFendants' acæ zndfor omissions described herein were malicious, willful,

       reckless, andlcr wanton, displaying a conscious, deliberate, arrðf or reckless disregard of, or

       utter indifference to, harmful consequences, including the health and safeg' of RB., resulting

        in iniuries and harm to RB., iusti$ing zn mtzrd. of punitive damages.

    177. A corporation may be held lizble forpunitive damages for a culpable mens rea demonstrated

        by the actions anðf ar omissions by their employees, when viewed in the aggregate. The acdons

        and/or omissions of Defendants'employees and/oragents viewed in the aggregate determine

        that Defendants had the requisite culpable mentâl state because of the cumuladve conduct         of

        their employees ancl/or agents. The culpable mental state of Defendants may be viervecl from


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       the very fact that one employee and/or agent could be                      þorant of the acts or omissions of
       other employees rvith potentially disastrous consequences- The totality of the circumstances

       indicates Defend'¿nts' wanton ¿nd/or reckless disregard For the lives, safety and/ or properg

       of other persons, including the life, safety, health, and well-being o[R8..

    178. Defendanß are vicariously liable for punìtive damages based on the conduct oF their

       employeæ, ofFtcers, and/or principals. Defendznts' employees, oFficers, anðf or principals

       were acting in the course and scope of their employment with f)eFendants and had sufñcient

       discretìonary authority to speak for them with regard to the conduct at issue, independent                     of

       higher authority.

    179. Defend¿nts'acts and omissions described hereinwere malicious,rvillful, reckless, orwanton,

       displaying a conscious, deliberate or reckless disregard of, or utter indiffereflce to, harmful

       conseçluences, including the health, safety, and well-being of RB., and other persons, resulting

       in the harm and ìnjuries suffered by R.8..

    18û. Defendants autharizeð, parttcipated 'tn, andf or rattfied the conduct of their employees,

       officers, and/or principles. Therefore, Defendants are vicariously liable For punitive damages

       based on their authorization, participation, andfor ratification                       of the conduct of     their

       employees, officers, and / or principals.

                                                        IX. COUNT YII
                             Breach of Contract Third-Party Beneficiary Claims

    181. The allegations of the preceding and succeedrngpatagnphs are inco¡porated herein by this

       reference.

    182. Defendant Rolling           Hills entered into       a contract   to be R.B.'s residential treatrneût program.

    183. In reliance upon Rolling Hills' representation of services that would be provided, R.B. was

       placed at Rolling Hills.


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    184. Upon information and belief, the Àgreement regarding Rolling Hills' obligations to                   RB.   are

          set Forth in the Rolling          Hills' intake and admissions   assessment, Rolling   Hills' online website,

          and other clocuments and records related to R.B.'s status as a CYFD v¡'¿rd.

    185. Rolling      Hills promised that RB.'s emotional and behavioral needs would be addressed by

          residential treatrnent care.

    186. Rolling Hills promised to provide RB. with a safe and therapeutic residential treatrnent câre

          envlronment.

    187. Such promises imposed duties, oblþúons, and responsibilities on Defendants regarding the

          safe, appropriate, and therapeutic environment provided                for R.8.. Such promises created a

          contract among Rolling Hills and CYFD, of which R.B. was the third-party beneficiary.

    188. Defendanæ Rolling Hills and Acadia charged money for the                    services they promised, and

          bargained for, as stated in this lawsuit

    189. Defendants breached Rolling Hills' promises and their contractual duties.

    190. The parties to the contract descril¡ed herein intended, ærd specifically contemplated, RB.

          would be the beneficiary to the contract.

    191   .   Âs a direct and proximate result of Defendants' breach of this contract, R.B. sufFered iniuries

          and damages.

    192. Defendants are li¿ble to R.B. for ¿ll amounts paid under the contract zrtd ail consequential

          damages allowed under New Mexico law, including breach                  of the covenant of good faith and

          fair dealing.

    193. The nature of the contract entered into by Rolling Hills was such that emotional iniuries

          were foreseeable as a result of Defendanæ' breach of the contract

    194. f)efendants are liable to R.B. for all physical and emotional iniuries and damages suFfered

          as a result      of the breach of contract
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    195. Further, DeFendants' acts andlor omissions described herein were malicious, w-illful,

        reckless,   and/or \Ã''anton, displaying a conscious, delìberate, anðf or reckless disregard of, or

       utter indifference to" harrnful consequences, including the health'and safety of R.8." resulúng

       in injuries and harm to R3., iusti$'ing an au,ard oFpunitive damages.

    196.   ,t corporation    may be held li¿ble Ëor punitive damages fcr a culpable mens rea demonstrated

       by the actions and/ar omissions by its employees, when viev¡ed in the aggrega.te. The actions

        and/ or omissions       of l)efendants' employees andf or agents viewed in the ag¡yegate cletermine

       that Defendants had the requisite culpable ment¿l state because of the cumuladve conduct                    of

       their employees and/or agents. The culpable mental st¿te of Defendants may be viewed from

       the very fact th:at one employee zndf or agent could be                 þorant of the acts or omissions of
       other employees rvith potentially disastrous consequences. The totality of the circumstances

       indicates Deiendants'wantûn and/or reckless disregard for the lives, safety and/or proper$.

       of other persons, including the life, safety, health, and well-being of R.8..

    197. DeFendants       ete vicariously liable for punitive damages based on the conduct                  of   their

       employees, officers,         andlor principals. Defèndants' employees, ofFicers, andlar principals

       were acdng in the course and scope of their employment with Defendants and had suFficient

       discretionary authority to spezk for them with regard to the conduct at issue, independent                  of
       higher authority.

    198. Defendarrts' acts and omissions described herein were malicious, willful, reckless, orvranton,

       displaying a conscious, deliberate or reckless disregard of, or ut¡er indifference to, harmful

       consequences, including the health, safety, andwell-being of R.8., and other persons, resulting

       in the harm and iniuries suffered by R.B..

    l99.DeFenclants authorized, participated              in,   anåf   or ratified the conduct of their   employees,

       officers, and/or principles. 'Lherefore, I)efendants are vicariously liable for punìtive damages
              Crry a. Aødia Healthcøv Conpary, Inc., et al.
    4eH       C,omplaint for Personal Injuries
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        based   on their authorizatiorr, participation, anðfor ratific¿tion of the conduct of their

       employees, oFficers, andf ar principals.

                                    X. COUNT YIII
     Breach of Covenant of Good Faith and Fair Dealing Third-Party Beneficiary Claims

    200- The allegations    of the preceding and succeecling    panagraphs are inccrporatecl herein b¡. this

       ret-erence.

    201. There is in every contract, including the one described above, a covenant of good faith and

        fair dealing.

    2t2.Defenda¡rts have bre¿ched tåat coven'¿n! without privilege or cause to do so.

    203. A.s a result oFDefendants'breach, R.B. suffered d'amages in an amount to be shov¡n at trial.

    204. Further, Defendants' acts andlor omissions described herein were malicious, willful, reckless,

        andlorq¡anton, dìsplaying a conscious, cleliberate, tndfar reckless disregard           o{ or utter
       indifference to, harmful consequences, inclucling the health and safety oi R-8., resulting in

       iniuries and harm to R.8., |ustifring an award of punitive damages.

    205. A corporation may be held liable for punitive damages for a culpable mens re¿ demonstrated

        by the actions anð/ot omissions by iæ employees, when viev¡ed in the aggregate. The acdons

        and/or omissions of Defendants'employees and/oragents viewed in the aggregate determine

        that Defendants had the requisite culpable mental state because of the cumulative conduct oF

        their employees and/or agents. The culpable mental state of Defendants may be viewed from

        the very factthat one employee anðf or agent could be         þorant of the zcts or omissions of
        other employees with potentially disastrous consequences. The totality of the circumstances

        indicates Defendants'wanton and/or reckless disregard for the lives, safety and/or property

        of other persons, including the life, safety, health, and well-being of R.8..




            Ctry u. Audia Healthcare Conpail), Ine.,   eî al.
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    206. Defenclants are vicariously liable          for punitive   d¿mages based   on the conduct of their

        employees, oFficers, andf       or principals. Defendants' employees, oFficers, and/ar principals

        were acting in the course and scope of their employment with Defendants and hacl sufficient

        discretionar¡' authority to speak for         it with rçgard to the conduct at issue, independent of

        higher authority.

    207. DeFendants' acts and omissions described herein were malicious, willful, reckless, or wanton,

        displaying a conscious, deliberate or reckless clisregard of, or utter indifference to) harmful

        consequences, including the health, saFety, and well-being of RB., and other persons, resulting

        in the harm and injuries sufFered by R.8..

    208. Defendants ¿uthorized, participated            in, andlor ratified the conduct of their   employees,

        ofñcers, and{or pdnciples. Therefore, Defendants are vicariously liable for punitive damages

        based on their authorization, participatior¡ andfor ratification            of the conduct oF their
        employees, officers, znð.f or principals.

                                             XI. COUNT IX
                                   Unfair Practices Act ('3UPA") Claims

    209.T\e allegations of the preceding and succeedingparagraphs are incorporated herein by this

        refere¡ce.

    210. Defendants have viol¿ted the New Mexico Unfair Practices Åcg N.M.S.A.. 1978, Sections

        57-12-1,   et seq.


    211. Specifically, Defendants are a "person" as defined by Section 57-12-2(L> and has engaged

        in "trade or cotrrnerce" by "offering for sale or distribution . . . sersices . . . ." as defined in

        Section 57-12-2(C).

     272.DeÌenðânß has made representations on their online website regarding their services.




            Gmj a. Acadia Healthmrc ConpatE, Inc., et al.
     51.    Complaint for Personal lnfuries
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    213. Such stâtements include, but are not lìmited                          to, that Rolling Hills claims its mission is to

        "provide superior behavioral healthcare serr.ices" with "Core Yalues"                            oF    "Integrity    -   honesty

        zmr'l   fairness", "Respect             - trsat people as we rvish to be tre¿ted", and "Excellence -                 providing

        the level of care we rvould rvant for a family member"'.

    214. Rolling        Hills "is proud to otter aclolescent behavioral health sen ices that are desþned to

        stabilize young people who are battling cmotional ancl behavioral conccms."                                 It   clâims that its

        therapies ancl "treatment modalities" "allow young people to lear.e [its] hospital and become

        functioning successful members of the community."

    215. Rolling Hills claims its therapies are "designed                       to meet the needs oFyouth between the ages

        of 12and lSwhoaresufËeringfrommental,behavioral, anðfor emotionalcûnceff¡s."

    216.It contends iæ program "specializes in the diagnosis and treâtment of psychiatric condidons

        by providing a comprehensive range of ser¡.ices as part of [its] short-term stabilization

        treatment model".

    217. Rolling Hills holds iæelf out as possessing a "caring and compassionate                               stalf'.

    218. Rolling        Hills promises           "þy     irnplr:rnenting individ'-rzrlizre,j serice pians firar are         fiiioreii   h:

        ¡rd.iress tl:e uniqlie            crJlrceríis.;lsicl: patientr¡'hc is entn-¡sted in r:ur        car"e.   tlie staåTat ltollina

        Ilills llos3:ir¿i in Åda.             L'¡td is ai;le to hrrlp aciolescenls stririlize.rrid develi;p the tr;ols r¡eeded

        tc   maintain the highest ier.el c¡i firni:iionirS¡. a.li r¡'lriie r:m;;inirrg in a safþ a¡rì lrtaling

        frn ironment ihat is coriducive tc healing-"

    2l9.In providing such sen'ices                   to R.8., Defèndants engaged in unfair or deceptive trade practices

        as defined by Section 57-12-2P) by knor,vingly making false                               or misleading aral ar r,vritten

        statements            in connection with the             sale    of services, rvhich   dicl tend to,   or did, deceive       and

        misleaclR.R..

    220.'L]ne conduct of I)ef-endants

                Cral   u.   Acadia Healthcare C:lþ¿þd,ry, Inc., ef al.
     s2H fümplaint for Personal Injuries
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                     a       used exaggeration, innuendo, or ambþþ as to a maærial Fact or f¿iled to st¿te a
                             materiâl fact if doing so deceives or tends to deceive: or

                     o       failingto deliverthe services contr¿cted for.

    221. Further, Defendants engaged ìn unconscionable trade practices, as that term is defined in

        Section 57-12-2F), because it took advantaç oF the lack of know'ledge, ability, e4perience,

        and capacity of R.B. to an unfair degree, rendering DeFendants' acts uncomscionable trade

        practices.

    222. As a direct and proximate result of Defendants' unFair, deceptive, and unconscionable trade

        practices as described above, Rolling Hills was selected as the residential treatrnent progr¿m

        forRB..

    223. Under Section 57-"1,2-18, R.B. is entitled to ¿n ar,vard up to three (3) times the actr¡al damages,

        sho*ld they so elect, as opposed to punitive damages under this count,which zre also available

        under the facts and circumstances. R.B. is also entitled to zn award of reasonable attornefs

        fees in connecdan            with prosecution of the L|PA claims.

    224.T}r.e UP,{. violatioris were malicious, willful, reckless, and/orwanton, displaying a conscious,

        deliberate, nnð/ or reckless disregard of, or utter indifference to, harmful consequences,

        including the health and safety of RB., resulting in iniuries and harm to R.8., iusti$ing an

        æ'tard of punitive damages.

    225.R.8. may elect punitive damages in lieu of treble damages under the L?r{..

    226.   L   coqporation may be held liable for punitive damages for z culpable mens rea demonstrated

        by the actions zndf or omissions by iæ employees, when viewed in the aggregate. The actions

        anð/or omissions of Defendants'employees and/oragents viewed in the aggregate determine

        that Deiendants had the requisite culpable mental state because of the cumulative conduct         of
        their employees and/or agents. The culpable mental state of Defendants may be viewed from
               CtE   u.   Acadia Healthcare CompatE, Inc., eî al.
     s3å fümplaint for Personal lniuries
Case 1:19-cv-00406-LF-SCY Document 1 Filed 05/02/19 Page 59 of 68




           the r.ery fact that one emplo¡'ee and/or agent could be             þorant   oË the acts   or omissions ol

           other ernplol'ees rvith potentially dlsastrous consequences- The torâliq' c¡f the circumstances

        indicates Defendants' w¿tntotr "andfor reckless disregirrd for the lives, safeq anel/or proper$

        oF other persons: including the life, safety" health, ¿nd well-being oF            RB..

    227.Defendânts are vicariously liable                  for punitive damages    based   on the conduct oF their

        employees, oFficers, andf or principals. Defendants' employees, oFficers, anóf or principals

        were acdng in the course and scope of their employment rr-ith l)efendants and had sufficient

        discretionary authority to speak For them r.vith regard to the conduct at issue, independent                oi
        higher authority.

    228.Ðe{endants' acts and omlssions described herein v¡ere m¿licious, r,villful, reckless, or wanton,

        displaying a conscious, deliberate or reckless disregard               o{ or ut¡er indiffererìce to, harmful
        consequences, including the health, safety, ¿nd rvell-being of R.8., and other persons, resulting

        in the harm and iniuries suffered by R.8..

    Z29.Ðefeøðants authorizeri, participated in,                  atð/or ratified the conduct     oF their employees,

        officers, and/or principles. Therefbre, Defendants are vicariously liable lor punitive damages

        based     on their authonzattan, participation, andfar ratification of the conduct of their

        employees, oFficers, anðf or principals.

                                                       XII. DAMAGES

    230. Tlre allegatrons      of the preceding and succeedingparzgnphs are incorporated herein by this

        reference.

    231.   As a direct and proximate result of Defendants' conducL R.B. suffered compensatory

        damages, inclucling, but not limited to: medical and psychological bills; emotronal pain and

        suffering; physical pain and suFfering; loss              of enjoyment of life; lost Ê¡ture earning   capacity,

        economic damages, all of r.vhich rvrll continue in the futr¡re. Âdditionally, Plaìntiff is entitled
              Ctry u. Acadia Healtl¡mrv C)outþary, Inc., et al.
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Case 1:19-cv-00406-LF-SCY Document 1 Filed 05/02/19 Page 60 of 68




           to reco!'er punitive          damâges      in such amounts allowed by law and as determined by the

           Factfinders in this case, as rvell as any other damaçs or relieFav¿ilable under New Mexico law

           as deærmined appropriate by the               Court

                                                    XIII.JURY DEMAND

     232-Pluinu.ff hereby requests and demands a trial by iury on all issues properþ submitted to                      a iury.


                                                XIV. PRAYER FOR RELIEF

            WT{EREFORE, Pl¿intiff respectfully pra¡.s for                   a.   judgment against f)efendants For damiages

 sufficient to fully compensate R.B. for all the iniuries and damaçs described herein, punitive damages,

 for pre- and post-iudgment interest               as allowed by      laq for costs and for such     ot'her and further relief

 as the   Court deems just and proper in law and in equity.

                                                                Respectfu lly submitted,

                                                                FADDUOL, CLUFR HARDY & CONAIüTÅY, p.C.

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                                                               Joshua  K Conaway
                                                                3301 San Mateo Boulevard        NE
                                                                Albuquerque, New Mexico 87107
                                                                Telephone: 5t5.243.6t15
                                                                Fax. 545.243.6642
                                                                icornway@fchclaw.com

                                                                and



                                                                F. Michael Hart
                                                                Kelly Stout Sanchez
                                                                MARTTNEZ, H¡nt, THoMpsoN & S¡Ncr¡ez, P.C.
                                                                1801 Rio Grande Boulevard NE
                                                                Albuquerque, New Mexico 87rc4
                                                                Telephone 505.343.177 6
                                                                Fax 505.343.7709
                                                                mikeh@osolawfirm.com
                                                                kellys@osolawfirm.com

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     ssfi Complaint for Personal Injuries
      Case 1:19-cv-00406-LF-SCY Document 1 Filed 05/02/19 Page 61 of 68

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                                                                                                              Rio Arriba County
STATE OF NEW MEXICO                                                                                          41512A1911:11AM
COUNTY OF RIO ARRIBA                                                                                    STEPHEN T. PACHECO
                                                                                                        CLERK OF THE COURT
FIRST JUDICIAL DISTRICT COURT
                                                                                                              Francine Lobato

DEBORAH GRAY,              as Guardian ad    litem of
R.8., a minor child,

                  Plaintiff,

vs.                                                                             No. D-117-CV-2019-00134

ACADIA HEALTHCARE COMPANY, INC.,
And ROLLING HILLS HOSPITAL' LLC'

                  Defendants.

                                      CERTIFICATE OF SERVICE

          It is hercby certifìed that a copy of ?laintifPs Complaint for               Person'al Injurics, Jury Demand,

Fìrst Discovery Instruments, Peütion and Order Appointing Guardian ad Litem, Peremptory Excusal

and Notice of Judge ,{.ssþnment to Defendant were delivered to Acadia Healthcare, Inc.                         c/o C.T.

Co¡poration @egisterecl Agent), at206 S. Coronaclo Ave., F.spanola, New Mexico 87532 on April 2,

2019.       copy of the returned certifìecl mailing card is attached hereto.
          ^
           I hereby   certifr that on April 5, 201.9,I. filed the foregoing electronically, which caused the

pafties of recorcl to be servecl by electronic means,              as   more fully reflected on the Notice of Electronic

Filing.

                                            RespectFully Submittecl,

                                            FADDUOI,, CI,UFF, HARDY & CONA\IIAY, P.C.

                                            /.ç/ IosltuaK Conapay
                                            Joshua K. Conaway
                                            3301 San Mateo Rlvd. N]l,
                                            Albuquerque, NM 87110
                                            Telephone: (505) 243-6045
                                            Fax: (505) 243-6642
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                       F. Michael Hart
                       I{elly Stout Sanchez
                       N{artinez, I'Iart, Thompson & Sanchez, P.C.
                       1801 Rio Grancle Boulevard NW, Suite.A
                       Albuquerqr-re, New Mexico 87104
                       5A5.633.8770
                       mikeh@osolar,v.com
                       kellys@osolaw.com

                       ATT ORNEYJ FOR PIAINTITF
Case 1:19-cv-00406-LF-SCY Document 1 Filed 05/02/19 Page 63 of 68




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STATE OF NEW MEXICO                                                                                                4h012019 9:04 AM
COUNTY OF RIO ARRIBA                                                                                         STEPHEN T. PACHECO
FIRST JUDICIAL DISTRICT COURT                                                                                CLERK OF THE COURT
                                                                                                                     Jorge Montes

DEBORAH GRAY,               as   Guatdian ad litem of
R.8., a minor child,

                    Plaintiff,

vs.                                                                                       No. D-117-CV-2019-00134

ACADIA HEALTHCARE COMPANY, INC.,
And ROLLING HILLS HOSPITAL, LLC,

                    Defendants.

                                        CERTIFICATË OF SERVICE

          It is hereby certifìed that â copy of Plaintiff s Complaint for Person'al Injuries, Jury Demand,

Fìrst Discovery Instruments, Petìtion and Order Appointing Guardian ad Literr¡ Peremptory Excusal

and Notice ofJudge Assignment to Defendant'were delivered to Rolling Hills Hospital, LLC c/o The

Corporation Company, S.egistered Agent), zt1833 Sr:uth Morgan Rcl., Okl¿homa City, OI{ 73128 on

April4, 2019.          copy of the returnecl certified mailing carcl is attachecl hereto.
                   ^
          I   hereby certify that on April 10, 2019,I fìled the foregoing electronicall¡ which caused the

parties of recorcl to be servecl by electronic means, as more fully reflectecl on the Notice of Electronic

Filing.

                                              Respectfi"rlly Subrnittecl,

                                              FADDUO],, CI,UFI], HARDY & CONAWAY,                               P.C.



                                             Josirua K. Conaway
                                             3301 San Mateo Rlvd. NlL
                                             Albuquerque, NM 87110
                                             Teleplrone: (505) 243-6045
                                             Fax: (505) 243'6642
                                              i   c,:rn;.irt il.r'{il) [ì:l'it;l¿t;" . curir


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Case 1:19-cv-00406-LF-SCY Document 1 Filed 05/02/19 Page 66 of 68



                       F. Michael Hart
                       I{elly Stout Sanchez
                       Martir:ez, T-Iart, Thompson & Sanchez, P.C,
                       1801 Rio Grande Boulevard N'W, Suite,A,
                       Albuquerque, New Mexico 87104
                       505.633.8770
                       mikeh@osolaw.com
                       kellys@osolaw.com

                       ATT   OTIATEYJ FOR P ]-AINTTFF
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